-          brown, kenneth anderson, a private and special People called Moors and beneficiary/heir, an Emperor, an Admiral, a Master Merchant,
a Shereef, a Seamen, a Piloter, a Commander, a Captain Maritime lien holder of all vessels, ships, chattels, goods, cargo, crafts, tenements, charters,
estates, commodities, Land, Air, Water etc, a Captain Maritime lien ho lder navigating the high seas onshore and offshore, and subject, consul and
                                                                                                                           firo~tr.f:~
Nobl? of the Al Maroc Shereeftan Empire "but not a citizen of the united states for the district of columbia, nor a citizip-
amenca m congress assembled"
                                                                                                                                                        K'S OFF
                                                                                                                                                                ICE
                                                                                                                       . .·~   ~
                                                                                                                                   U.S.D.C. -Atlanta
                                                  district court of the united states,
                     L'            ,'   A   ()   /1 northern ; sr c; of ~eorgia _                                                    AUG f 7 2022
                   .;;/et ~ La vse_                                      -~ I , z z cV -OSfJ5Co K~Z : .fnEIMER, Cieri<
                    .,
brown, k enneth am,erson                                                     §              the umte
                                                                                                  . d states o,ramenca
                                                                                                              1
                                                                                                                    .                    ~        tv Clerk

Moor beneficiary-in personam, sui Juris                                      § Original Equal Justice Being Rendered
KB RA-EL EXPRESS TRUST                                                       § in Admi.ralty and Maritime Jurisdiction
A special and private people called Moor and                                 §
subject, consul and Noble of the                                             §      Treaty ofMarrakech 1786 (& 1836),
Al Maroc Shereefian Empire                                                   §               ARTICLE XXI;
                                                                             §      Treaty of Tunis 1824, ARTICLE XII
                            Claimant/Suitor/Li be/Zant,                      §
                                                                             §      1781 Articles ofConfederation
-v-                                                                          §   ARTICLE V, VJ, IX, XII and XIII
                                                                             §
                                                                             § written 1789 constitution for united states
          Controversy/Contravention assembled:                               §     ofamerica in congress assembled
                   Custodian(s)/Fiduciary(ies)I                              §      ARTICLE III §2 §§1 & §§2 and
                       Liablee(s)/Defendant(s),                              §              ARTICLE VI §1, §2 and §3
                                                                             §
blinken, antony john d/b/a                                                   §      Judiciary Act of 1789 1 stat 73 §9, §11,
ANTONYJOHNBLINKEN                                                            §       §1~ §2~ §22,§25, §2~§3~ &§32
secretary of state, et al .                                                  §
United States                                                                §                 AMENDED:
HEIRS AND ASSIGNEES                                                          § Bill ofLading in Original Equal Justice
                                                                             § Being Rendered in Admi.ralty & Maritime
yell en, janet louise d/b/a                                                  § Jurisdiction by Nature, Law of Nations
JANET LOUISE YELLEN                                                          §
secretary of treasury, et al .                                               §      Ship Man ifest; Special Cause to
United States                                                                § Proceed Ex Parle; In Camera Hearing
HEIRS AND ASSIGNEES                                                          §
                                                                             § To: roberts, john g. jr. d/b/a JOHN G.
garland, merrick d/b/a                                                       §     ROBERTS Jr., et al., chief justice/
MERRICK GARLAND, et al .                                                     §     acting as Master/Chancellor et al .,
attorney general, et al.                                                     §     Sealed & In Camera; harris, scott s.
United States                                                                §     d/b/a SCOTT S. HARRIS et al .,
HEIRS AND ASSIGNEES                                                          §     special clerk of the court, et al .; and
                                                                             §     grimberg, steven d. d/b/a STEVEN D .
bamhart, jo anne d/b/a                                                       §     GRIMBERG, et al., judge, et al.; c/o
JO ANNE BARNHART, et al .                                                    §     district court of the united states,
commissioner, et al.                                                         §     northern district of georgia
Social Security Administration                                               §     Richard B. Russell Federal Building
HEIRS AND ASSIGNEES                                                          §     2211 United States Courthouse

Bill of Lading in Original Equal Justice                                                                                   Page 1 of5.J
Being Rendered in Admiralty and Maritime
Jurisdiction by Nature, Law ofNations
                                               §    75 Ted Turner Drive, SW
rettig, charles paul d/b/a                     §    Atlanta, Georgia; near [30303-3309]
CHARLES PAUL RETTIG                            §
commissioner, et al.                           §     Speciali Causa (Special Cause),
Internal Revenue Service                       §      Private, Special, Privileged,
HEIRS AND ASSIGNEES                            §    Confidential-Excluding the Press
                                               §
miller, duane r. d/b/a                         §     Special Term, without General,
MAJOR GENERAL DUANE R. MILLER, et al.          §     without Statutes, without FRCP
provost marshal general, et al.                §
United States Army                             §    "Where there is a conflict between
HEIRS AND ASSIGNEES                            §   Maxims ofEquity and the rules of the
                                               §    common law over the same subject
dejoy, louis d/b/a                             §      matter, Equity shall prevail"
LOUIS DEJOY, et al .                           §
post master general, et al.                    §
United States                                  §
HEIRS AND ASSIGNEES                            §
                                               §
biden, joseph robinette Gr.) d/b/a             §
JOSEPH ROBINETTE BIDEN (Jr.), et al.           §
president, et al.                              §
United States                                  §
HEIRS AND ASSIGNEES                            §
                                               §
labat, patrick d/b/a                           §
PATRICK LABAT, et al.                          §
sheriff, et al .                               §
Fulton County                                  §
HEIRS AND ASSIGNEES                            §
                                               §
moyares, jason s. d/b/a                        §
JASON S. MOYARES, et al.                       §
attorney general, et al.                       §
Virginia                                       §
HEIRS AND ASSIGNEES                            §
                                               §
stein, john d/b/a                              §
JOHN STEIN, et al.                             §
attorney general, et al.                       §
North Carolina                                 §
HEIRS AND ASSIGNEES                            §
                                               §
moynihan, brian thomas d/b/a                   §
BRIAN THOMAS MOYNIHAM                          §
chairman and chief executive officer, et al.   §

Bill ofLading in Original Equal Justice                                   Page2of54
Being Rendered in Admiralty and Maritime
Jurisdiction by Nature, Law ofNations
Bank of America, N.A.                               §
HElRS AND ASSIGNEES                                 §
                                                    §
dowdy, evelyn g . d/b/a                             §
EVELYN G. DOWDY, et al.                             §
president and chief executive officer, et al.       §
Connects Federal Credit Union                       §
HElRS AND ASSIGNEES                                 §
                                                    §
mcduffie, mary d/b/a                                §
MARY MCDUFFIE, et al.                               §
chief executive officer, et al.                     §
Navy Federal Credit Union                           §
HElRS AND ASSIGNEES                                 §
                                                    §
whitlock, edward s. iii d/b/a                       §
EDWARDS. WI-IlTLOCK ill, et al                      §
attorney and partner, et al                         §
Lafayette, Ayers & Whitlock, PLC                    §
HElRS AND ASSIGNEES                                 §
                                                    §
fischer, jennifer w. d/b/a                          §
JENNIFER W. FISCHER, et al                          §
attorney, et al                                     §
Lafayette, Ayers & Whitlock, PLC                    §
HElRS AND ASSIGNEES                                 §
                                                    §
randazzo, mathew d/b/a                              §
MATHEW RANDAZZO, et al                              §
principal, et al.                                   §
Accuserve of VA                                     §
HEIRS AND ASSIGNEES                                 §
                                                    §
rogers, william h. jr. d/b/a                        §
Wil.,LIAM H. ROGERS Jr. et al.                      §
chairman and chief executive officer, et al.        §
Truist Bank                                         §
HEIRS AND ASSIGNEES                                 §
                                                     §
moore-wright, k.imberly d/b/a                        §
KIMBERLY MOORE-WRIGHT, et al .                       §
chief teammate officer; head of enterprise diversity §
~~&~                                                §
HElRS AND ASSIGNEES                                 §
                                                    §
Bryan Lamar Brown Estate, et al.                    §

Bill of Lading in Original Equal Justice                 Page3of54
Being Rendered in Admiralty and Maritime
Jurisdiction by Nature, law ofNations
BRYAN LAMAR BROWN, et al .                 §
BRYAN LAMAR BROWN (inmate                  §
 trust # 75394083), et al.                 §
                                           §
Jamal Darius Parker Jr, et al              §
JAMAL DARIUS PARKER JR, et al.             §
JAMAL DARIUS PARKER JR (trust              §
 case# 2200132301FH, et al.)               §
                                           §
Vincent Anthony Duval Jr, et al.           §
VINCENT ANTHONY DUVAL JR, et al.           §
VINCENT ANTHONY DUVAL JR (trust            §
case# 8:03-cr-00131-SCB-M P, et al.)       §
                                           §
Mark Anthony Stepherson, et al.            §
MARK ANTHONY STEPHERSON, et al.            §
MARK ANTHONY STEPHERSON (trust             §
 case # 1:21-00507-mhc-jkl)                §
                                           §
Kenneth Anderson Brown Estate, et al .     §
KENNETH ANDERSON BROWN, et al.             §
                                           §
Joyce Yvonne Harrison Estate, et al.       §
JOYCE YVONNE HARRISON, et al.              §
                                           §
Joseph Anderson Brown Estate, et al.       §
JOESEPH ANDERSON BROWN, et al.             §
                                           §
Kevin Lamar Brown Estate, et al .          §
KEVIN LAMAR BROWN, et al.                  §
                                           §
defrancis, steven d/b/a                    §
STEVEN DEFRANCIS, et al.                   §
chief executive officer, et al .           §
Cortland Partners LLC, et al.              §
HEIRS AND ASSGINEES                        §
                                           §
lackey, joel bray d/b/a                    §
JOEL BRAY LACKEY, et al .                  §
chief executive officer, et al.            §
National Credit Systems, Inc.              §
HEIRS AND ASSIGNEES                        §
                                           §
carr, chris d/b/a                          §
CHRIS CARR, et al .                        §
attorney general, et al .                  §

Bill oflading in Original Equal Justice        Page4of54
Being Rendered in Admiralty and Maritime
Jurisdiction by Nature, law ofNations
Georgia                                             §
HEIRS AND ASSIGNEES                                 §
                                                    §
kemp, brian d/b/a                                   §
BRIAN KEMP                                          §
governor, et al .                                   §
Georgia                                             §
HEIRS AND ASSIGNEES                                 §
                                                    §
youngkin, glen d/b/a                                §
GLEN YOUNGKIN, et al.                               §
governor, et al .                                   §
Virginia                                            §
HEIRS AND ASSIGNEES                                 §
                                                    §
cooper, roy d/b/a                                   §
ROY COOPER, et al.                                  §
Governor, et al.                                    §
North Carolina                                      §
HEIRS AND ASSIGNEES                                 §




                                     Claimant/Suitor/Libellant

brown, kenneth anderson, Moor beneficia,y
KB RA-EL EXPRESS TRUST
c/o 221 Jordan Drive
Woodstock, Georgia RFD
near (30188]

                            Controversy/Contravention assembled:
                      Custodian(s)/Fiduciary(ies)/Liablee(s)/Defendant(s)

blinken, antony john d/b/a                          yellen, janet louise d/b/a
ANTONY JOHN BLINK.EN                                JANET LOUISE YELEN
secretary of state, et al .                         secretary of treasury, et al .
United States                                       United States
2201 C Street NW                                    1500 Pennsylvania Avenue NW
Washington, District of Columbia [20520]            Washington, District of Columbia [20220]

garland, merrick d/b/a                              barnhart, jo anne d/b/a
MERRICK GARLAND, et al.                             JO ANNE BARNHART, et al.
attorney general, et al.                            commissioner, et al
United States                                       Social Security Administration

Bill of Lading in Original Equal Justice                                        Page 5of54
Being Rendered in Admiralty and Maritime
Jurisdiction by Nature, Law ofNations
950 Pennsylvania Avenue NW                      6401 Security Blvd.
Washington, District of Columbia [20530]        Woodlawn, Maryland [21235]

rettig, charles paul d/b/a                      miller, duane r. d/b/a
CHARLES PAUL RETTIG                             MG DUANE R. MILLER, et al.
commissioner, et al.                            provost marshal general, et al .
Internal Revenue Service                        United States Army
1111 Constitution Avenue NW                     Pentagon Building
Washington, District of Columbia [20224]        Washington, District of Columbia [22202]

dejoy, louis d/b/a                              bi den, joseph robinette jr. d/b/a
LOUIS DEJOY, et al.                             JOSEPH ROBINETTE BIDEN Jr.
postmaster general, et al.                      president, et al.
United States                                   United States
475 L' Enfant Plaza, SW.                        1600 Pennsylvania Ave. NW.
Washington, District of Columbia [20260]        Washington, District of Columbia[20530]

labat, patrick d/b/a                            moyares, jason s. d/b/a
PATRICK LABAT, et al.                           JASON S. MOYARES, et al .
sheriff, et al.                                 attorney general, et al .
Fulton County                                   Virginia
185 Central Ave. SW                             202 North Ninth Street
Atlanta, Georgia [30303]                        Richmond, Virginia [23219]

stein, john d/b/a                               moynihan, brian thomas d/b/a
JOHN STEIN, et al.                              BRIANTHOMASMOYNIHAM
attorney general, et al.                        chief executive officer, et al.
North Carolina                                  Bank of America, N .A.
114 W Edenton St.                               100 North Tryon Street
Raleigh, North Carolina [27603]                 Charlotte, North Carolina [28255]

dowdy, evelyn g. d/b/a                          mcduffie, mary d/b/a
EVELYN G. DOWDY, et al.                         MARY MCDUFFIE, et al.
president and chief executive officer, et al.   chief executive officer, et al .
Connects Federal Credit Union                   Navy Federal Credit Union
7700 Shrader Rd.                                820 Follin Lane
Richmond, Virginia [23228]                      Vienna, Virginia [22180]

whitlock, edward s. iii d/b/a                   fischer, jennifer w. d/b/a
EDWARDS. WHITLOCK III, et al.                   JENNIFER W. FISCHER, et al.
attorney and partner, et al.                    attorney, et al.
Lafayette, Ayers & Whitlock, PLC                Lafayette, Ayers & Whitlock, PLC
10160 Staples Mill Rd #105                      10160 Staples Mill Rd #105
Glen Allen, Virginia [23060]                    Glen Allen, Virginia [23060]

randazzo, mathew d/b/a                          rogers, william h. jr. d/b/a

Bill of Lading in Original Equal Justice                                           Page6of54
Being Rendered in Admiralty and Maritime
Jurisdiction by Nature, Law ofNations
MATTHEW RANDAZZO, et al.                       WILLIAM H. ROGERS Jr. et al.
principal, et al.                              chairman and chief executive officer, et al.
Accuserve of VA                                Truist Bank
6366 Mechanicsville Turnpike #201B             214 N Tryon St
Mechanicsville, Virginia [23111]               Charlotte, North Carolina [28202]

moore-wright, kimberly d/b/a                         Bryan Lamar Brown Estate, et al.
KIMBERLY MOORE-WRIGHT, et al.                        BRYAN LAMAR BROWN, et al .
chief teammate officer, head of enterprise diversity BRYAN LAMAR BROWN (trust inmate
Truist Bank                                             number: 75394083), et al.
214 N Tryon St                                       c/o 221 Jordan Drive
Charlotte, North Carolina [28202]                    Woodstock, Georgia [30188]

Kenneth Anderson Brown Estate, et al .         Joyce Yvonne Harrison Estate, et al.
KENNETH ANDERSON BROWN, et al.                 JOYCE YVONNE HARRISON, et al.
c/o 221 Jordan Drive                           c/o 221 Jordan Drive
Woodstock, Georgia [30188]                     Woodstock, Georgia [30188]

Joseph Anderson Brown Estate, et al.           Kevin Lamar Brown Estate, et al.
JOESEPH ANDERSON BROWN, et al .                KEVIN LAMAR BROWN, et al.
c/o 221 Jordan Drive                           c/o 221 Jordan Drive
Woodstock, Georgia [30188]                     Woodstock, Georgia [30188]

defrancis, steven d/b/a                        lackey,joel bray d/b/a
STEVEN DEFRANCIS, et al.                       JOEL BRAY LACKEY, et al.
chief executive officer, et al.                chief executive officer, et al.
Cortland Partners LLC, et al.                  National Credit Systems, Inc.
3424 Peachtree Road, Suite 300                 1775 The Exchange Se Suite 300
Atlanta, Georgia [30326]                       Atlanta, Georgia [30339]

carr, chris d/b/a                              kemp, brian d/b/a
CHRIS CARR, et al.                             BRIAN KEMP
attorney general, et al.                       governor, et al.
Georgia                                        Georgia
40 Capitol Square, SW                          206 Washington Street; 111 State Capitol
Atlanta, Georgia [30334]                       Atlanta, GA [30334]

youngkin, glen d/b/a                           cooper, roy d/b/a
GLEN YOUNGKIN, et al.                          ROY COOPER, et al.
governor, et al .                              governor, et al .
Virginia                                       North Carolina
P.O. Box 1475                                  20301 Mail Service Center
Richmond, VA [23218]                           Raleigh, NC [27699]

Jamal Darius Parker Jr, et al                  Vincent Anthony Duval Jr Estate, et al.
JAMAL DARIUS PARKER JR, et al.                 VINCENT ANTHONY DUVAL JR, et al.

Bill ofLading in Original Equal Justice                                       Page 7 of54
Being Rendered in Admiralty and Maritime
Jurisdiction by Nature, Law ofNations
JAMAL DARIUS PARK.ER JR (trust                           VINCENT ANTHONY DUVAL JR, trust
  case# 2200132301FH, et al.)                              case# 8:03-cr-00131-SCB-M P, et al.
c/o 221 Jordan Drive                                     c/o 221 Jordan Drive
Woodstock, Georgia [30188]                               Woodstock, Georgia [30188]

Mark Anthony Stepherson, et al.                          Torrey Brown Estate, et al.
MARK ANTHONY STEPHERSON, et al.                          TORREY BROWN, et al.
MARK ANTHONY STEPHERSON trust                             TORREY BROWN trust
  case# 1:21-00507-mhc-jkl                                 inmate# 291581, et al.
c/o 221 Jordan Drive                                     c/o 221 Jordan Drive
Woodstock, Georgia [30188]                               Woodstock, Georgia [30188]




                                  AMENDED:
           Bill of Lading in Original Equal Justice Being Rendered in
         Admiralty and Maritime Jurisdiction by Nature, Law of Nations

                                               Parties
        The "Claimant," "Your orator," "Suitor," "Libellant," and "Peaceful Protestor," brown,
kenneth anderson, is a private and special People called Moor americas aboriginal virginian
national, free inhabitant and beneficiary, an Emperor, an Admiral; a Master Merchant; a Shereef;
a Piloter; a Seaman; a Mariner and Commander, Captain Maritime lien holder of all vessels, ships,
chattels, goods, cargo, crafts, tenements, charters, estates, commodities navigating waters onshore
and offshore all matters dealing with Land, Water, and Air; an Captain Maritime lien holder
navigating the high seas onshore and offshore and subject, consul and Noble of the Al Maroc
Shereefian Empire, " but not a citizen ofthe united states for the district ofcolumbia, nor a Citizen
of the united states ofamerica in congress assembled," ingress in georgia.
        The Defendant(s) KENNETH ANDERSON BROWN et al, a registered organization name
with the department of state of the united states of america, is a decedent' s legal estate ("Estate")
whose principal office is located at 2201 C Street NW, Washington, District of Columbia in care
of blinken, antony john d/b/a ANTONY JOHN BLINKEN, secretary of state et al, HEIRS AND
ASSIGNEES, united states, who has duly been appointed privately as trustee in addition to being
a "People bound by oath to be Persons worthy of Trust" for the the benefit of brown, kenneth
anderson- Moor, grantee/beneficiary/heir of consular report of birth abroad, et al ., vessel:


Bill ofLading in Original Equal Justice                                                Page 8of5-I
Being Rendered in Admiralty and Maritime
Jurisdiction by Nature, Law of Nations
"KENNETH ABDERSON BROWN," et al., united states of america, et al ., department of state,
et al ., serial #0447898, et al.
                                              Premises
        Your orator' s core private rights were MISTAKENLY sacrificed by his mother and father
at his birth without him being fully availed and acknowledged of his exclusive equitable maritime
defenses. Your orator has tendered all consideration and been imputed a serious liability for the
indemnity or satisfaction of all debts of the said department of state of the united states of america,
et al ., (subsidiaries and contractors) registered organization decedent's legal estate person. Your
orator has been subjected to a colorable quasi in rem admiralty and maritime Legal mode of letters
of Marque/Reprisal Proceedings "Acts of War" which are in contravention with Your orator's
private maritime treaty protections of the 1786 (& 1836) Treaty ofMarrakech, ARTICLE XXl;
1795 Treaty ofAlgiers, ARTICLE XV; 1797 Treaty ofTunis, ARTICLE XVII/; J824 Treaty ofTunis,
ARTICLE XII; and the Treaty of Tripoli 1797 ARTICLE X, as well as the written 1789 constitution
for the united states ofamerica, under the rules of Chancery due and owing to the Clamant by way
of his special and particular political status, and equitable maritime rights to the same said Estate
that were intended for Your orator as the sole exclusive heir and beneficiary, by maxims of equity:
"only God can create an heir," and "the heir and his ancestor are one and the same person."
        Your orator appears in p ersonam only for assaults and beatings on the High Seas and
everywhere else, without an administrator, guardian, personal representative, an executor, or a
trustee to defend his equitable maritime rights, titles, and interests in the same estate and must
guard his good name, against the destruction of his reputation, and his admiralty and maritime
rights to equal Justice being rendered on his behalf, which are protected by his privity as an
beneficiary/heir to the maritime treaties as a subject, consul and Noble of the Al Maroc Shereefian
Empire and the written constitution, intended for him, by its makers as an equitable maritime
mortgage/compact. Accordingly, Your Servitude would expect no less privity as co-heir to such
mortgage/compact. Your orator calls for a Court of Equal justice being rendered in original
admiralty and maritime jurisdiction by nature law of nations into activity by good conscience,
good reason and by his own reasonable diligence. Your orator is in p ersonam sui Juris, now having
knowledge of his maritime Treaty rights, with opportunity to assert them, he does not delay
unreasonably so to do.
               "Equity aid the the vigilant, not those who slumber on their rights"

Bill of lading in Original Equal Justice                                               Page 9of5-I
Being Rendered in Admiralty and Maritime
Jurisdiction by Nature, law ofNations
                        "Equity imputes an intent to fulfill an obligation."
        Custodian(s)/Fiduciary(ies)/Defendant(s)/Libelee(s) was and or is appointed " in fact"
by oath/affirmation and or qualified as either implied administrators or constructive or
expressed fiduciaries and at once entered upon the discharge of their duties as "People bound
by oath to be Persons worthy of Trust" who are obligated to carry out their duties as faithful
servants and Your Orator further hereby now Transfers on Special Deposit, valuable and sufficient
consideration according to 1796 Treaty of Tripoli, ARTICLE X, for the purpose of fiduciary
appointment of Custodian(s)/Fiduciary(ies)/Defendant(s)/Libelee(s), as well as now, fully
granting, conveying, and delivering legal title to be in the form of a Deed of Conveyance to each
Fiduciary(ies)/ Defendant(s)/Libelee(s) to be held in private by said Fiduciary(ies)/Defendant(s)/
Libelee(s) for the private enjoyment, use, possession, and benefit of the claimant. Each
Fiduciary(ies)/Defendant(s)/ Libelee(s) is hereby noticed of the claimant' s, manifest intent, purpose,
to execute actual and constructive grant and conveyance on the special deposit the trust res to demand
for specific performance and accepts Fiduciary(ies)/Defendant(s)/Libelee(s) constitutional oath to
perform lawfully and as privately appointed Trustee(s), with equity, in good faith, with clean hands,
and without fraudulent concealment, to ensure that equal Justice be rendered Your orator further
shows unto Your servitude as faithful servant he calls upon each Defendant( s )/Libelee( s) to
either Affirm or Deny their trust relation with him; to render a specific performance by due
particularity; to provide Your orator with a full accounting of all "accounts" whether Open,
Stated or Settled; to provide Your orator a list of real, personal, and equitable maritime assets;
to provide Your orator with a list of all debts due to Your orator' s estate during such time as
he was deprived as an incident to the right of redemption; to release any and all collateral, and
return all remaining trust res by reconversion of said accounts to Your orator; as a people
called Moor heir/beneficiary, an Emperor, an Admiral, a Master Merchant, a Shereef, a Piloter,
a Seaman, a Commander, Maritime lien holder of all vessels, ships, chattels, goods, cargo, crafts,
tenements, charters, estates, commodities navigating waters onshore and offshore all matters
dealing with Land, Water, and Air, an Captain Maritime lien holder navigating the high seas
onshore and offshore and subject, consul and Noble of the Al Maroc Shereejian Empire, and to
extinguish all local tax, oblig ation, reprisal, remuneration, indemnification, or debts of said
estate, if any. May it be through your faithful servitude as a good and faithful servant, the said
Defendant(s )/ Libelee(s) have previously failed or is to answer and or or make defense to the trust;

Bill of Lading in Original Equal Justice                                              Page IO of 5-1
Being Rendered in Admiralty and Maritime
Jurisdiction by Nature, Law ofNation s
after he had given reasonable time so to do and with no delay; render to Your orator, under oath,
and make discovery any statement of account(s) of their actings and doings as administrator(s) or
fiduciary(ies) concerning Your orator beneficiary interests as grantee/beneficiary/heir of aforesaid
trust(s)/account(s) -beneficiary/heir rights have been destroyed in the past . Your orator demand
that the Defendant(s) shall answer under oath, make the discovery called upon by the bill, and
render over to him a full accounting of all accounts whether Open, Stated or Settled of the said
estate as in conscience and equity they ought to have done or be attached and compelled to answer.
Your orator demands an order taking his bill for confession, the failure of the Defendant(s)/
Libelee( s) to make any defense being deemed prima facie evidence that he has no defense to make,
but, on the contrary, admits the material allegations of the bill to be true. Qui tacet, cum loqui
detet, consentire videtur (He who is silent, though he had foreseen them, seems to agree).
             ''No delay will prejudice a defrauded party as long as he was ignorant
             of the fraud; and, especially, ifthe defendant concealed the facts which
             it was his duty to disclose, or deceived the complainant by
             misstatements, or otherwise lulled his suspicions. The sleep of the
             complainant cannot be used as a def ense by him who caused that sleep ,
            f or that would be to take advantage of his own wrong. " (Henry R.
            Gibson §70 Latches)

        May it be through Your faithful servitude as a good and faithful servant, that the said
Defendant(s)/Libelee(s) and any other persons who may be confederating together at present and
unto Your orator unknown, whose names, when discovered, may be herein inserted, and they be
made parties respondent hereto, for contriving to harm and oppress Your orator in the admiralty
and maritime premises. All of which actings and doings, neglects and pretenses, and other conduct
on the part of said Defendant(s)/Libelee(s) are contrary to equity admiralty and maritime by
nature law of nations and good conscience, and tend to manifest wrong, injury and oppression of
Your orator in the premises.
                                     Statement of Jurisdiction
        This is a suit in original equal justice being rendered in the original equity admiralty and
maritime jurisdiction by nature law of nations arising within the 1786 (& 1836) Treaty of
Marrakech, ARTICLE XXI; 1781 Articles of Confederation Article VI, IX, XXII, XXIII; written


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1789 constitution ofthe united states ofamerica in congress assembled, Article III. , §2, § § 1 & § §2
and ARTICLE VI; 1824 Treaty of Tunis, Article XII.; and the Judicature Act of 1789 1 stat 73 §9,
§11, §16, §20, §22, §25, §26, §30, and §32. The rights Your orator are entitled to as a private
Moor americas aboriginal virginian national, an Emperor, an Admiral, a Master Merchant, a
Shereef, a Seamen, a Piloter, a Commander, a Captain Maritime lien holder of all vessels, ships,
chattels, goods, cargo, crafts, tenements, charters, estates, commodities, Land, Air, Water etc, a
Captain Maritime lien holder navigating the high seas onshore and offshore, and subject, consul
and Noble of the Al Maroc Sheree.flan Empire are of those classes which said maritime treaties,
constitution and act, either confers or has taken under their protection, without such obligation Your
orator's rights are in jeopardy of being destroyed and slandered beyond repair where no adequate
remedy for their enforcement is provided by the forms of letters of Marque/Reprisal proceedings
of a purely colorable quasi-in rem admiralty and maritime legal nature. The same necessity invokes
and justifies in cases to which its remedies can be applied, that jurisdiction in equity vested by said
maritime treaties, constitution, and act cannot be affected by the legislation of the emergency
provisional congress by a committee of the states, the states, nor any agencies subject, consul to
the law of the district of columbia. This court has jurisdiction and the Claimant/Suitor/Libellant
does hereby grant all in personam and subject matter jurisdiction to this court, under the original
equal justice being rendered in the admiralty and maritime jurisdiction by nature law of nations
and this court also has original and exclusive jurisdiction when it comes to matters dealing with
two or more states to all Cases affecting Ambassadors, other public ministers and Consuls;-
to all Cases of admiralty and maritime Jurisdiction;-to Controversies to which the United
States shall be a Party conferred byl 786 (& 1836) Treaty ofMarrakech, ARTICLE XXI;
written 1789 constitution of the united states of america in congress assembled, Article III. , §2,
§§1 & §§2 and ARTICLE VI; 1824 Treaty of Tunis, Article XII.; and the Judicature Act of 1789 1
stat 73 §7, §9, §11, §16, §20, §22, §25, §26, §30, and §32 to the exclusion of all other quasi-in
rem colorable admiralty and maritime modes and letters of marque/reprisal "Acts of War"
proceedings, to adjudge this matter. In tender of sufficient consideration whereof, and forasmuch
as Your orator is remediless in the premises at and by the direct and rules of the common law, and
cannot have adequate relief as in a Court of Equity admiralty and maritime by nature, where equal
Justice can be rendered and where matters of this and a similar nature are properly cognizable and


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restorable. Citing Chancellor Henry R. Gibson, I convey to this cause the basis of the inherent
exclusive equitable jurisdiction that your Honor shall dispense.

                                      Statement of the Cause
        The primary subject, consul matter at issue in Your orator's speciali causa (special cause) as
a private Moor, americas aboriginal virginian national, and subject, consul and Noble of the Al
Maree Shereefian Empire, "but not a citizen of the united states for the district of columbia, nor
a citizen of the united states of america in congress assembled," Your orator's core private rights
(privatum) have been and will continue to be destroyed by people bound by oath to be Persons
worthy of Trust, who have, by presumptions and a form of paper genocide, attempted to
denationalize or naturalize and confederate against Claimant in a very unbecoming, hostile and
belligerent manner by imposing statutes codes, ordinances and other colorable instrumentalities and
titles, by listing me as a human, a negro, black, white, colored, a person, (the word "person," as
defined by the Code of the District of Columbia, shall apply to partnerships and corporations), a
person of color, ethnic, indigenous, an Indian, a native American, African, African-American, a
Latino, a Hispanic, Moorish, a Moorish American, associated with any Moorish Science Temple of
America (MSTA), or Moorish Nation, a Black Identity Extremist, a sovereign-citizen, a national of
a designated enemy country, a resident of any of the united states for the district of columbia,
resident of any of the united states of america in congress assembled, relegating Claimant/Your
orator/Suitor/Libellant/Peaceful Protester to being legally incapacitated, and as a perpetual minor,
if not "dead" in the law captured, condemned vessel lost at sea, reduced to a political and economic
status without rights, left with only benefits and privileges, incapable of taking up my own maritime
rights and handling my own affairs as was intended by my ancestors. Nowhere in the constitution,
maritime treaties or laws of the united states of america in congress assembled, nor the Code of the
District of Columbia are any People bound by oath to be Persons worthy of Trust, subject to the
public faith, granted the authority through acts of war through assault and beatings on the High Seas
to change Claimant/Your orator/Suitor/Libellant/Peaceful Protester from being a special and
private People called Moor and subject, consul and Noble of the A1 Maree Shereefian Empire
without his consent, volition, act and deed. It is not only not true in law or in fact, in principle or in
practice, that any People bound by oath to be Persons worthy of Trust, or instrumentality created
by the Trust of the People, such as the treaties or the constitutions shall confer upon the private


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people called Moors any colorable quasi in rem admiralty and maritime titles or reduced political
and economic status without maritime rights by nature. Said Fiduciary(ies)/Defendant(s)/Libelee(s)
have subjected the Claimant/Your orator/Suitor/Libellant/Peaceful Protestor to such treatment by
statutes, codes, ordinance, prohjbitions, rules, regulations and other colorable admiralty and
maritime instrumentalities to alter his special and particular political status. Libellant(s) core private
maritime rights have been and will continue to be destroyed in libel beyond repair by presumptions
as a form of paper genocide. It has been in fact expressed by maritime treaty and the general laws
and acts of congress of many of the several states since as early as 1845 that a private Moor is
excepted from said statutes, codes, ordinance, prohibitions. I contend that it would be contrary to
Equity in the original admiralty and maritime jurisdiction by nature law of nations, good conscience
and good reason and the various maritime/mercantile treaties of the Al Maroc Shereefian Empire
and is repugnant to the constitution, maritime treaties and laws of the united states of america in
congress assembled to mistakenly sacrifice my right to self-determination as a private People called
Moor, americas aboriginal virginian national, an Emperor, an Admiral, a Master Merchant, a
Shereef, a Seamen, a Piloter, a Commander, a Captain, Maritime lien holder of all vessels, ships,
chattels, goods, cargo, crafts, tenements, charters, estates, commodities Land, Air and Water, etc.,
an Captain Maritime lien holder navigating the rugh seas onshore and offshore, and subject, consul
and Noble of the Al Maroc Shereefian Empire, my name, my family ties, my hereditary culture,
and my inheritance. I am a people called Moor.
                 "Equity aids the vigilant, not those who slumber on their rights. "
                      FIFTY-SIXTH CONGRESS. Sess. II. CHS. 8541901.
                                  LAWS REMAINING IN FORCE.
             SECTION 1. The common law, all British statutes in force in Maryland on
             the twenty-seventh day of February, eighteen hundred and one, the
             principles of equity anti atlmiralty, all general acts of Congress not
             locally inapplicable in the District ofColumbia, and all acts of Congress
             by their terms applicable to the District of Columbia and to other places
             under the jurisdiction of the United States, in force at the date of the
            passage of this act shall remain in force except in so far as the same are
             inconsistent with, or are replaced by, some provision of this code .


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                                       Statement of the Cause
        The primary subject matter at issue in Your orator's speciali causa (special cause) as a
private People called Moor americas aboriginal virginian national an Emperor, an Admiral, a
Master Merchant, a Shereef, a Seamen, a Piloter, a Commander, a Captain, Maritime lien holder
of all vessels, ships, chattels, goods, cargo, crafts, tenements, charters, estates, commodities Land,
Air and Water, etc., an Captain Maritime lien holder navigating the high seas onshore and offshore,
and subject, consul and Noble of the Al Maroc Shereefian Empire, "but not a citizen ofthe united
states for the district of columbia, nor a Citizen of the united states of america in congress
assembled," Your orator's special and particular status is uncontroverted. It "cannot" be altered
by any of the several states and its navigation of waters and ships, the united states for the district
of columbia its waters, vessels or ships, or the united states of america in congress assembled
maritime contracts or statutes, waters, vessels and ships, be it expressed or implied, public or
private; and therefore, my special and particular status as a private Moor subject "cannot" been
reduced to an inferior grade of volunteer surety "U.S. citizenship" status by any man, state, or
colorable quasi-in rem admiralty and maritime instrumentality. Your orator's substantive core
private equitable maritime rights to "substantive due process of war" and equal Justice being
rendered in the original jurisdiction of admiralty and maritime by nature law of nations cannot be
seen by a court of colorable admiralty and maritime letters of Marque/Reprisal "Act of
War "proceeding under any mode other than the exclusive original jurisdiction of admiralty and
maritime by nature law of nations, as are all at law courts today whether state or federal, as a result
of section 17 of the Trading with the Enemy Act of October 6, 1917, which was made applicable
to "persons within the United States," by way of said Emergency Banking Relief Act of 1933
without violation thereof; which in such case Your orator is by legal compulsion, subjected to the
laws of the united states ofamerica in congress assembled or the united states for the district of
columbia which are inconsistent and repugnant to our reciprocal maritime treaties and therefore
Your orator cannot be "commingled" with any public U.S. citizens or nationals/allies of a
designated enemy country as defined in and subject to your Emergency Banking Relief Act of
March 9, 1933. Due to said exigent circumstances Your orator is without adequate, complete, and
certain remedy at law admiralty and maritime by characteristic, sufficient to meet all the demands
of Justice owed and due to me by virtue of my private status as an "ipso jure" Moor subject, consul
and Noble of the Al Maroc Shereefian Empire. Your orator requires that this court and its People

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bound by oath to be Persons Worthy of Trust issue a private declaratory decree acknowledging
that Your orator is, "in fact," a private People called Moor, americas aboriginal virginian national,
an Emperor, an Admiral, a Master Merchant, a Shereef, a Seamen, a Piloter, a Commander, a
Captain Maritime lien holder of all vessels, ships, chattels, goods, cargo, crafts, tenements, charters,
estates, commodities Land, Air, Water, etc., an Captain Maritime lien holder navigating the high
seas onshore and offshore, and subject, consul and Noble of the Al Maroc Sheree.flan Empire, "but
not a citizen of the united states for the district of columbia, nor a citizen of the united states of
america in congress assembled," and that he shall be treated as friendly, amicus curiae, and
respected and esteemed as that of the most favored Nation.
                "Equity aids the vigilant, not those who slumber on their rights,"
                              The Judiciary Act; September 24, 1789
             SEC. 9. And be it further enacted, That the district courts shall have,
            exclusively of the courts of the several States, cognizance of all crimes and
            offences that shall be cognizable under the authority of the United States,
            committed within their respective districts, or upon the high seas; where no
            other punishment than whipping, not exceeding thirty stripes, a fine not
            exceeding one hundred dollars, or a term of imprisonment not exceeding six
            months, is to be inflicted; and shall also liave exclusive original cognizance
            of all civil causes of admiralty and maritime jurisdiction, including all
            seizures under laws of impost, navigation or trade of tlie United States,
            wliere the seizures are made, on waters wliich are navigable from tlie sea
            by vessels of ten or more tons burtlien, wit/tin their respective districts as
            well as upon tlie liig/1 seas; saving to suitors, in all cases, the right of a
            common law remedy, where the common law is competent to give it; and
            sliall also have exclusive original cognizance of all seizures on land, or
            otlier waters titan as aforesaid, made, and of all suits for penalties and
            forfeitures incurred, under the laws of the United States. And sliall also
            have cognizance, concurrent with the courts of the several States, or tlie
            circuit courts, as tlie case may be, ofall causes where an alien sues for a tort
            only in violation of the law of nations or a treaty of the United States. And
            shall also have cognizance, concurrent as last mentioned, of all suits at
            common law where the United States sue, and the matter in dispute amounts,

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             exclusive of costs, to the sum or value of one hundred dollars. And shall also
             have jurisdiction exclusively of the courts of the several States, of all suits
             against consuls or vice-consuls, except for offences above the description
             aforesaid. And the trial of issues in fact, in the district courts, in all causes
             except civil causes of admiralty and maritime jurisdiction, shall be by jury.
                          "Equity Imputes an inte11t to f uljill a11 obligatio11"

                                            Statement of Cause
        Your orator's special cause concerning Fiduciary(ies)/Defendant(s)/Libelee(s) is for the
termination of any guardian/ward condemned vessel relation; making any presumed
administration of my estate absolute void; have decedent's legal estate restored to Your orator as
the sole exclusive heir and beneficiary of said decedent's legal estate person; and I demand
restoration and exoneration from of all liabilities of the defendant Kenneth Anderson Brown a
registered organization name trust vessel in Washington, District of Columbia, a decedent's legal
estate ("Estate"). The decedent's legal estate is a derivative of the sacred trust vessel that was
granted to Your orator by his mother and father as grantor(s). It was intended for me as grantee
absolute and sole beneficiary of the body main vessel, ship, the name, and the sum of all their
attachments, including, but not limited to, all interest, lands, assets, rents, credits emitted, monies
borrowed, leases, derivatives, profits, proceeds, reserves, stores, and titles thereof for his private
enjoyment, use, possession, and benefit. Your orator has acknowledged and accepted all that my
ancestors had intended for me. Your orator' s equitable maritime claims are uncontroverted. Your
orator is beneficial owner and Captain of the Estate (vessel), and all property attachments including
but not limited to: lands, houses, goods and chattels, rights and credits, his person, his wives (to
be) and children offspring (to be), and right to: work and to sell and acquire property, engage in
any lawful business, his and their reputation, health and capacity to labor, his and their right to
enjoy the senses of sight, smell, hearing and taste, his and their right of speech and locomotion,
and his and their right to enjoy their sense of moral propriety when normal, to live by his labor and
property, and cannot be presumed to have parted with even any one of them without receiving or
expecting an equivalent in value. Hence, whenever one person has obtained either the labor or
property of Your orator, he should pay or account therefore, unless he can prove it was a gift by
Your orator; Your orator is interested in the settlement, and has been aggrieved by errors,
omissions and false credits therein; and that a just and equitable maritime settlement will benefit

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him. Your orator' s substantive maritime equitable rights to own property and to "substantive due
process ofwar" and equal Justice being rendered in admiralty and maritime by nature jurisdiction
are not cognizable at law quasi in rem admiralty and maritime by characteristic, much less at
martial "Non-Substantive due process of War" and rely exclusively on the recognition and
enforcement of purely equitable maritime rights by nature.

        Your orator states that due to said exigent circumstances he is without adequate, complete,
and certain remedy at law colorable admiralty and maritime jurisdictions, sufficient to meet all the
demands of Justice, owed and due to him, by virtue of his private status as a special and private
people called Moor and subject, consul and Noble of the Al Maroc Shereejian Empire, and that
without complete justice being administered by this High court, Your orator may be subjected to
further unjust and irreparable hann and destruction of his maritime treaty protected rights and
property by Libelee(s) in libel beyond repair.
                                    "Equity abhors a forfeiture"

                                           Statement of Cause
        The primary subject matter issue of the claimant's speciali causa (special cause) in regards
to Fiduciary(ies)/Defendant(s)/Libelee(s) is for the full restoration against all liability of the Estate
as the surety or secondarily liable imposed upon him in all legal colorable admiralty and maritime
proceedings in a general military character, and in a particular "State" acts of war letters of
Marque Reprisal legal proceeding styled as " IN THE UNITED STATES DISTRICT COURT FOR
THE NORTHERN DISCTRICT OF GEORGIA." Which are "In Fact" legal fictions and has no
"Substantive due process of war" and demonstrably erroneous an "oxymoron" and
"unmoored." Your orator draws into question the validity of any forms, proceedings and modes
purely legal for acquiring jurisdiction, that are martial in character. A conflict arises under the
interpretation of works, doctrines, ideas, principles of, or any authority exercised, inconsistent with
and repugnant to any maritime treaties made or that shall be made by the united states in congress
assembled, or the powers granted to the Committee of States, in the Articles of Confederation,
while in the recess of congress, a conflict and variance arises. " Where there is a conflict between
the Maxims ofEquity and the rules ofthe common law over the same subject matter, Equity shall
prevail. "Your orator's core private rights are not cognizable at law, or the colorable quasi in rem
admiralty and maritime legal legislative letters of marque/reprisal proceedings in the courts of the

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several states; nor the modern merged reformed legal system, in which only the procedural
distinctions between the courts oflaw and equity were merged, albeit, the jurisdictions are wholly
unaffected and my private "substantive due process of war rights" are in direct inherent conflict
with the concurrent jurisdiction created by the Judicature Act of 1873. Furthermore, my conflict
with the reformed procedure is that the intent and purpose of the ancient separation into an
exclusive equal justice being rendered in admiralty and maritime jurisdiction by nature law of
nations is no longer furnished and is in direct conflict with the reformed procedure. the claimant's
core private natural maritime rights are in jeopardy of being destroyed by Libelee(s) in libel; are
of those classes, which the maritime treaties either confer or are taken under its protection, and no
adequate remedy for their enforcement is provided by the forms, proceedings, and modes purely
legal.
         The claimant is without speedy, nor adequate and complete remedy at law colorable
admiralty and therefore there arises a conflict of the rule of law over the same subject matter, the
registered organization name Kenneth Anderson Brown trust vessel, in relation to the claimant/,
as a "ipso jure" Moor subject, consul and Noble. It is only under legal compulsion that the
claimant/suitor/libellant is subjected to any jurisdiction other than the exclusive equity in the
admiralty and maritime jurisdiction by nature law of nations. vested by the 1781 Articles of
Confederation, ARTICLE XII; 1786 (& l 836) Treaty of Marrakech, ARTICLE XXI; 1789
constitution for the united states of america in congress assembled, ARTICLE III §2 §§1 &§§2,
and ARTICLE VI. §1, §2 and §3; the Judiciary Act of 1789 1 stat 73 §9 and §11; and the 1824
Treaty of Tunis ARTICLE XII and cannot be affected by the emergency enactments of legislation
due to the said conflict, the inherent law, equitable maritime principles and doctrines such as
matters of subrogation, substitution, and exoneration and other equitable maritime defenses from
said colorable admiralty letters of marque proceeding legal in nature, in the courts of several states.

 Franco-Al Maroc Shereefian Empire Protectorate Treaty, Signed at Fez March 30, 1912
             This Provision probably has in view the carrying out ofthat part ofArticle
             60 of the Algeciras act which stipulates that " before authorizing the
             execution of deeds transferring property the Cadi will have to satisfy
             himselfof the validity ofthe Title in conformity to the Mohammedan Law"
             The department is, however, advised that the records of land titles in Al


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            Maroc are very incomplete, and that this provision of the regulations may
             be used to delay indefinitely transfers ofproperty in which the Moorish
            Government has in "Fact " no legal or equitable rights.
                    "He who comes into equity must come with clean hands"

                                           Statement of Cause
        The primary subject matter issue of Your orator's speciali causa (special cause), as an
"implied equitable maritime surety," he makes his original claim against Defendant(s)/Libelee(s)
seeking equitable maritime restoration and remedy from the burden caused by (i) trespass upon
Your orator's inherent natural rights to equal Justice being rendered towards him in
admiralty/maritime by nature concerning any dispute, (ii) exoneration of all liability and
obligations imputed to Your orator either by way of operation of law, mistake, error or accident,
by presumption, under legal compulsion, threat and duress, or fraudulent concealment by
Defendant(s)/Libelee(s), and (iii) subrogation of all rights, title and interests of the united states
of america, and the united states for the district of columbia (hereafter "creditors") against the
claimant/suitor/libellant with respect to any irrevocable obligation arising from a quasi-trust
relationship conducted by said united states for the         district of columbia colorable "non-
substantive due process of war" quasi in rem admiralty and maritime military legal letters of
marque/reprisal proceedings.

        Your orator states that due to said exigent circumstances I am without adequate, complete,
and certain remedy at law, sufficient to meet all the demands of Justice owed and due to me by
virtue of his special and private status as a people called Moor and subject, consul and Noble of
the Al Maroc Shereefian Empire, and that as the sole exclusive heir to the Estate(s), and that
without complete justice being administered this Court, Your orator may be subject to unjust and
irreparable harm and destruction in contravention and libel of his maritime treaty protected rights
and property.

                               "One who seeks equity must do equity"

                                           Statement of Cause
        The primary subject matter issue of the Claimant' s speciali causa (special cause) in regards
to Fiduciary(ies)/Defendant(s)/Libelee(s) is for the complete restoration against the destruction of


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rights in libel born of special private fiduciary trust relations between the parties, either express,
resulting, constructive, or executory, including treaties, upon which he has relied for fair dealing,
good faith, accurate, complete, and equitable maritime treatment, excluding any form of casuistry .
Your orator, while a minor, became entitled to a large estate that has all be administered and
sustained, in open, stated, or settled accounts where by reason of some mistake, or omission, or
accident, or undue advantage, the account is vitiated, and the balance incorrectly fixed; where by
reason of some fiduciary relation of trust or confidence between the Fiduciary(ies)/Defendant(s)/
Libelee(s) and the Claimant/Suitor/Libellant, where the claimant was at a disadvantage, and as a
consequence the account is inequitable. The claimant equitable maritime cause is a complex
accounting, and he is without full facts of the maritime assets of the trust and relies exclusively on
the mode of compelling the Fiduciary(ies)/Defendant(s)/Libelee(s) to make disclosure and
therefore a discovery by suit in equity and admiralty by nature is indispensable. The
Claimant/Suitor/Libellant has business dealings, involving many items, in consequence of
relations of trust, or confidence, Fiduciary(ies)/Defendant(s)/Libelee(s) have handled the estate of
the claimant; or done business for him. The Claimant is the beneficial party entitled to a settlement
and demand a bill for an accounting for the funds or other property in which the
Claimant/Suitor/Libellant has an interest, and to pay over whatever may be due or belong to him.
                    "A good andfaithful servant shall make a full accounting
                            to the owner, ofthe talents he was granted"

        The Claimant/Suitor/Libellant through his inherent power of appointment, has appointed
most and now appoints all Fiduciary(ies)/Defendant(s)/Libelee(s) by transfer on special deposit,
valuable and sufficient consideration (J 796 Treaty of Tripoli, ARTICLE X), for the fiduciary
appointment, as well as, fully granting, conveying, and delivering legal title to be in the form of a
Deed of Conveyance to each Fiduciary(ies)/Defendant(s)/Libelee(s) to be held in private by said
Fiduciary(ies)/Defendant(s)/ Libelee(s) for the private enjoyment, use, possession, and benefit of the
claimant for the private enjoyment, use, possession, and benefit of the claimant. It is Claimant's
manifest intent, purpose, to execute actual and constructive grant and conveyance on the special
deposit the trust res to demand for specific performance, by due particularity, to produce a full
accounting, list of all real, personal, and equitable maritime assets or other property in which the
claimant has an interest; to pay over whatever may be due or belong to him, or the balance due


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claimant on a fair accounting; release any and all collateral and return all remaining trust res,
concerning said debts due to my estate; and release any and all collateral, and return all remaining
trust res, by reconversion. Your orator, as the beneficial party entitled, in consequence of such
relations various sums of money or other property of the Claimant went, or should have gone, into
the possession, or under the control, of the Fiduciary(ies)/Defendant(s)/Libelee(s) giving items,
dates, values, and circumstances. The Fiduciary(ies)/Defendant(s)/Libelee(s) who has been
privately appointed has neither Affirmed or Denied the fiduciary relation, or rendered an account
of such money and property and the profits thereof and Your orator now requires for an account
to be taken by the Clerk and Master and for a decree for the amount found due. If the
Fiduciary(ies)/Defendant(s)/Libelee(s) has any sureties bound for his good conduct, they should
be made Fiduciary(ies)/Defendant(s)/Libelee(s), and their suretyship alleged in the body of the bill
be equitably maritime/admiralty attached under terms and conditions of the various treaties
between the Al Marne Shereefian Empire and united states of america in congress assembled ..
                              "One who seeks equity must do equity"

                                           Statement of Cause
        The primary subject matter issue of the Claimant's sp eciali causa (special cause) is for
the full restoration against the destruction of rights born of special private fiduciary trust
relations between the parties, either express, resulting, constructive, or executory, including
treaties, upon which he has relied for fair dealing, good faith, accurate, complete, and
equitable treatment, excluding any form of casuistry. harrison, joyce yvonne (Claimant' s
deceased mother); brown, joseph anderson (Claimant' s deceased father); brown, kevin
lamar (Claimant' s deceased brother); who as infants, core private rights were
MISTAKENLY sacrificed by their mother and father at birth, without being fully availed
and acknowledged of equitable defenses. harrison, j oyce yvonne, brown, joseph anderson
and brown, kevin lamar as "implied" maritime surety(ies), have been imputed a serious
liability for the indemnity or satisfaction of the debts of the State of Virginia registered
organizations, JOYCE YVONNE HARRISON et al., JOESPH ANDERSON BROWN et al.,
and KEVIN LAMAR BROWN et al., decedents' legal estate person(s) for harrison, j oyce
yvonne, brown, j oseph anderson and brown, kevin lamar Moor grantee(s), cestui que heirs
have been subjected to a Legal mode of Reprisal Proceedings through colorable admiralty and


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maritime jurisdiction without the private treaty protections of the 1786 (& 1836) Treaty of
Marrakech, ARTICLE XXI; the 1795 Treaty of Algiers, ARTICLE XV, 1797 Treaty of Tunis,
ARTICLE XVIII, and the 182-1 Treaty of Tunis, ARTICLE XII, as well as, the 1789 constitution
for the united states of america, under the rules of Chancery within Admiralty and
Maritime Jurisdiction (by nature) law of nations which they were entitled to, by way of
their special and particular political status as a Moor/Mooress and subjects and Nobles of
the Al Maroc Shereefian Empire and Your orator' s equitable rights to the same said Estates
as the sole exclusive heir and beneficiary, by maxims: "only God can create an lieir," "tlie
heir and his ancestor are one and the same person, " and "Equity regards the beneficiary
as the true owner. "
        I walk in the shoes ofmy ancestors, and as heir and beneficiary. I am maternal son
and sole heir of harrison, joyce yvonne, beneficiary of the registered organization names
JOYCE YVONNE HARRISON et al. (also known as JOYCE YVONNE BROWN and JOY
YVONNE BROWN). I redeem her estate as heir and have a just right to claim her {propria
vigore) on my own authority, she is mine. She begotten me through promise. She was/is a
child of the Most-High.
        I walk in the shoes of my ancestors, and as heir and beneficiary. I am paternal son
and sole heir, for brown, joseph anderson beneficiary of the registered organization names
JOSEPH ANDERSON BROWN et al. I redeem his estate as heir and have a just right to
claim his (propria vigore) on my own authority, he is mine. He manifested me through
promise. He was/is a child of the Most-High.
        I walk in the shoes of my ancestors, and as heir and beneficiary. I am biological
brother and sole heir, for brown, kevin lamar beneficiary of the registered organization names
KEVIN LAMAR BROWN et al. I redeem his estate as heir and have a just right to claim his
(propria vigore) on my own authority, he is mine. He was/is a child of the Most-High.
        This bill is filed for Your orator' s benefit and benefit of all my known/unknown
beneficiaries/heirs thathave an interest underthe decree. I am clothed with proprietary rights
over mooress: harrison, joyce yvonne registered organization names JOYCE YVONNE
HARRISON et al. (also known as JOYCE YVONNE BROWN and JOY YVONNE
BROWN); moor: brown, joseph anderson registered organization name JOSEPH
ANDERSON BROWN et al; and moor: brown, kevin Jamar registered organization name

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Being Rendered in Admiralty and Maritime
Jurisdictio11 by Nature, Law ofNations
KEVIN LAMAR BROWN et al.

        I DECLARE, I am.Moor, Americas virginian national, subject, consul and Noble ofthe
Al Maroc Shereefian Empire, and heir to said estates for good reason, the government of the place
shall have nothing to do therewith, said estate. To withhold or Condemn me from my
vessels/inheritance/heirshlp is in conflict and in contravention of life liberty, property and the pursuit
of happiness whlch are basic ethereal principles. (Gal 4) (1797 Treaty of Tunis, ARTICLE IXX)
                                 1786 (& 1836) Treaty ofMerrakech
             ARTICLE 22. If an American citizen shall die in our country, and no will
             shall appear, the Consul shall take possession of his effects; and if there
             shall be no Consul, the effects shall be deposited in the hands of some
             person worthy of trust, until the party shall/appear who has a right to
             demand them; but if the heir to the person deceased be present, the
             property shall be delivered to rum without interruption; and if a will shall
             appear the property shall descend agreeably to that will, as soon as the
             Consul shall declare the validity thereof.

                              If anyone DENIES, I DEMAND they:
             -   "SHOW GOOD CAUSE" why I "do not" hold superior equitable
                 maritime or legal title to mooress decedent's estate harrison, joyce
                 yvonne, beneficiary of the registered organization names JOYCE
                 YVONNE HARRIRSON et al. (also known as JOYCE YVONNE
                 BROWN and JOY YVONNE BROWN); moor decedent's estate:
                 brown, joseph anderson registered organization name JOSEPH
                 ANDERSON BROWN et al.; and moor decedent's estate: brown,
                 kevin lamar registered organization name KEVIN LAMAR
                 BROWN et al., and that it is "not" sacred trusts;
             -   "SHOW GOOD CAUSE" why any presumed administration of
                 harrison, joyce yvonne, beneficiary of the registered organization
                 names JOYCE YVONNE HARRIRSON et al. (also known as
                 JOYCE YVONNE BROWN and JOY YVONNE BROWN);
                 brown, joseph anderson registered organization name JOSEPH

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Being Renderetl in Admiralty and Maritime
Jurisdiction by Nature, Law ofNations
                 ANDERSON BROWN et al.; and brown, kevin lamar registered
                 organization name KEVIN LAMAR BROWN et al., estates are
                 "not" absolute void, and as Moor granteelgrantorlbeneficiaryl heir, I
                 am "not" entitled, by due particularity, a full accounting list of real,
                 personal, and equitable assets and debts due to the estates.
                 "SHOW GOOD CAUSE" why I "cannot" have harrison, joyce
                 yvonne, beneficiary of the registered organization names JOYCE
                 YVONNE HARRIRSON et al. (also lmown as JOYCE YVONNE
                 BROWN and JOY YVONNE BROWN); brown, joseph anderson
                 registered organization name JOSEPH ANDERSON BROWN, et
                 al.; and brown, kevin lamar registered organization name KEVIN
                 LAMAR BROWN et al., estates be restored to me as heir, and why
                 I "cannot" recover the body, the name, the sum of all their
                 attachments, all rents, credits emitted, monies borrowed, lands,
                 assets, acquisitions, proceeds, and profits of the estate during such
                 time as I was deprived thereof, with lawful interest.

                                           Statement of Cause
        The primary subject matter issue of Your orator's speciali causa (special cause), as an
"implied equitable maritime surety," he makes his original claim against Defendant(s)/Libelee(s)
seeking equitable relief from the burden caused by (i) trespass upon Your orator's inherent right
to equal Justice being rendered towards him concerning any dispute (ii) exoneration of all liability
and obligations imputed to Your orator either by way of operation oflaw, mistake, error or accident,
by presumption, under legal compulsion, threat and duress, or fraudulent concealment by
Defendant(s)/Libelee(s), and (iii) subrogation of all rights, title and interests of the united states of
america, and the united states for the district of columbia (hereafter "creditors") against the
libellant with respect to any irrevocable obligation arising from a quasi-trust relationship
conducted by said the district of columbia colorable admiralty and maritime military legal letters
of marque reprisal proceedings.

        Your orator states that due to said exigent circumstances I am without adequate, complete,
and certain remedy at law, sufficient to meet all the demands of Justice owed and due to me by

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virtue of l\is private status as a people called Moor, subject, consul and Noble of the Al Maroc
Shereefian Empire, and that as the sole exclusive heir to the Estate, and that without complete
justice being administered by this court, Your orator may be subject to unjust and irreparable harm
and destruction in libel of his maritime treaty protected rights and property.

             Your orator is in jeopardy of his special and private rights being destroyed in libel
beyond repair in the future because my rights have already been destroyed in contravention in the
past and present by "People who are bound by oath to be Persons Worthy of Trust" as following:
rogers, william h. jr. d/b/a WILLIAM H. ROGERS Jr. et al., chairman and chief executive officer
et al., HEIRS AND ASSIGNEES, Truist Bank; moore-wright, kimberly d/b/a KIMBERLY
MOORE-WRIGHT et al., chief teammate officer and head of enterprise diversity et al., HEIRS
AND ASSIGNEES, Truist Bank; and rettig, charles paul d/b/a CHARLES PAUL RETTIG,
commissioner, et al, HEIRS AND ASSIGNEES, Internal Revenue Service. Parties are guilty of
breaching faith by taking oaths contrary to Equity admiralty and maritime by nature and a good
conscience by using colorable quasi in rem admiralty and maritime Legal mode of letters of
Marque/Reprisal proceedings "Act of War" which re in contravention with Your orator's private
maritime treaty protections of the 1786 (& 1836) Treaty of Marrakech, ARTICLE XXJ ; 1795
Treaty of Algiers, ARTICLE XV; 1797 Treaty of Tunis, ARTICLE XVIII; 1824 Treaty of Tunis,
ARTICLE XII; and the Treaty ofTripoli 1797 ARTICLE X, as well as the written 1789 constitution
for the united states ofamerica, under the rules of Chancery due and owing to the Clamant by way
of his special and particular political status, and equitable maritime rights to the same said Estate
that were intended for Your orator as the sole exclusive heir and beneficiary. Internal Revenue
Code(s), titled: " irs withholding compliance program," is contrary to Equity, good conscience and
good reason and letter of Marque/Reprisal by withholding labor derived income of Moor
grantee/beneficiary vessel(s): Kenneth Anderson Brown, et al. , by accessing a U.S. (Tax) Code
where a Moor is not to be taxed pursuant to 1492 Treaty ofGrenada and shall be restored pursuant
to 1796 Treaty of Tripoli, ARTICLES III and X Where rogers, william h. jr. d/b/a WILLIAM H.
ROGERS Jr. et al., moore-wright, kimberly d/b/a KIMBERLY MOORE-WRIGHT and rettig,
charles paul d/b/a CHARLES PAUL RETTIG have been notified of this Statement of Cause by
mail, affidavit and or email while the aforesaid parties continue to exercise an unfair advantage at
law, whereby the Court of law and colorable enforcement of procedures are instruments of


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injustice. If rogers, william h. jr. d/b/a WILLIAM H. ROGERS Jr. et al., moore-wright, kimberly
d/b/a KIMBERLY MOORE-WRIGHT and rettig, charles paul d/b/a CHARLES PAUL RETTIG
obtain a judgment or administrates by suppressing or fabricating evidence, or by taking an
unconscientious advantage of Your orator, or by any other fraud, the Court on due application,
will enjoin the plaintiff from enforcing a judgment so obtained, and thus taking advantage of his
own wrong, provided such Your Orator really had a meritorious defense, and was guilty of no
negligence or other fault in the case.

        In the present, the Court is to ensure rogers, william h. jr. d/b/a WILLIAM H. ROGERS
Jr. et al., moore-wright, kimberly d/b/a KIMBERLY MOORE-WRIGHT and rettig, charles paul
d/b/a CHARLES PAUL RETTIG stop all actions in administering the vessel, Kenneth Anderson
Brown, et al., against grantee/grantor/beneficiary/heir notifications, demands and benefit where
the aforementioned have destroyed Moor grantee/beneficiary and Trust's unalienable rights and
property by taxation, and stop all actions concerning legal, colorable internal revenue code(s),
titled: "irs withholding compliance program," by rettig, charles paul d/b/a CHARLES PAUL
RETTIG contacting rogers, william h. jr. d/b/a WILLIAM H. ROGERS Jr. and kimberly d/b/a
KIMBERLY MOORE-WRIGHT releasing and restoring the vessel, Kenneth Anderson Brown et
al., from piracy on the high seas: irs withholding compliance program and letters of
marque/reprisal by irs withholding compliance program, and ensure no united states tax or georgia
state tax are assessed concerning any labor derived monetary disbursement from Truist Bank.

        The continued exercise of taxation of Your orator' s Moor vessel: Kenneth Anderson
Brown labor derived income is a breach of faith and repugnant to aforementioned treaty(ies) and
equity rights and unbecoming of aforesaid parties who all were appointed Fiducuary(ies)/
Trustee(s)/ Libelee(s)/Defendant(s) for the vessel: Kenneth Anderson Brown where a Statement
of Account was and is demanded including restoration of all monies pirated and besieged returned
to Your orator immediately as the destruction has caused and continue to cause in the present
irreparable harm. Your orator demands that the Fiducuary(ies)/Trustee(s)/Libelee(s)/Defendant(s)
shall answer under oath, make the discovery called upon by the bill, and render over to him a full
accounting of ALL accounts whether Open, Stated or Settled of the said estate as in conscience
and equity they ought to have done or be attached and compelled to answer. Your orator demands
an order taking his bill for confession, the failure of the Fiducuary(ies)/Trustee(s)/Libelee(s)/

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Defendant(s) to make any defense being deemedprimafacie evidence that he has no defense to
make, but, on the contrary, admits the material allegations of the bill to be true. Qui tacet, cum
loqui detet, consentire videtur (He who is silent, though he had foreseen them, seems to agree).
                                "Equity does not aid the Volunteer"
 "When one of two innocent persons must suffer by the act of a third person, he who put it in
              the power of the third person to inflict the injury shall hear the loss"

                                           Statement of Cause
        The primary subject matter issue of Your orator's speciali causa (special cause), as an
"implied equitable maritime surety," he makes his original claim against Fiducuary(ies)/
Trustee(s)/Libelee(s)/Defendant(s) seeking equitable relief from the burden caused by (i) trespass
upon Your orator's inherent right to equal Justice being rendered towards him concerning any
dispute; (ii) exoneration of all liability and obligations imputed to Your orator either by way of
operation of law, mistake, error or accident, by presumption, under legal compulsion, threat and
duress, or fraudulent concealment by Fiducuary(ies)/Trustee(s)/Libelee(s)/Defendant(s); and (iii)
subrogation of all rights, title and interests of the united states of america, and the united states for
the district of columbia (hereafter "creditors") against the libellant with respect to any irrevocable
obligation arising from a quasi-trust relationship conducted by said the district of columbia
colorable admiralty and maritime military legal letters of marque reprisal proceedings.

        Your orator states that due to said exigent circumstances I am without adequate, complete,
and certain remedy at law, sufficient to meet all the demands of Justice owed and due to me by
virtue of his private status as a people called Moor, subject, consul and Noble of the Al Maroc
Shereejian Empire, and that as the sole exclusive heir to the Estate, and that without complete
justice being administered by this court, Your orator may be subject to unjust and irreparable harm
and destruction in libel of his maritime treaty protected rights and property.

        Your orator is in jeopardy of his special and private rights being destroyed in libel beyond
repair in the future because my rights have been destroyed in contravention in the past and present
by "People who are hound by oath to be Persons Worthy of Trust" as following: dowdy, evelyn
g. d/b/a EVELYN G. DOWDY et al., president and chief executive officer of connects federal
credit union et al.; whitlock, edward s. iii d/b/a EDWARD S. WIDTLOCK III, et al., attorney and
partner of lafayette, ayers & whitlock, pie, et al.; fischer, jennifer w. d/b/a JENNIFER W.

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FISCHER, et al., attorney of lafayette, ayers & whitlock, pie, et al.; and randazzo, mathew d/b/a
MATHEW RANDAZZO, et al., principal of accuserve of va, et al. , concerning but not limited to
richmond-civil general district court case(s) #gvl4010893-00 through #gvl4010893-06 (pending),
et al ., where an Order of Garnishment was issued. Aforesaid party(ies) has executed and has an
unfair advantage at law, whereby has made the colorable admiralty Court and enforcement of
colorable law an instrument of injustice. Aforesaid Fiducuary(ies)/Trustee(s)/Libelee(s)/
Defendant(s) has been conspiring and continue to destroy Your orator' s special and private rights
and property by securing a court order/judgement through at law, colorable quasi in rem admiralty
and maritime Legal mode ofletters of Marque/Reprisal Proceedings "Acts of War" and provided
no consideration to warrant any claim of alleged debt. All consideration was provided by Your
orator by consent of signature to access the monies of vessel: Kenneth Anderson Brown and Proof
of Consideration provided at the time aforesaid were appointed Fiducuary(ies)/Trustee(s) for the
benefit of Your orator. The continued exercise of garnishment concerning colorable at law Court
judgment of Your orator' s vessel: Kenneth Anderson Brown labor derived income is a breach of
faith and repugnant to aforesaid treaty(ies) and equity rights and unbecoming where a Statement
of Account was and is demanded including restoration of all monies pirated and besieged, restored
to Your orator immediately as the destruction has caused and continue to cause, in the present,
irreparable destruction. Your orator desires that the Defendant(s), who are privately appointed
Trustee(s) for the benefit of brown, kenneth anderson, shall answer under oath, make the discovery
called upon by the bill, and render over to him a full accounting of all accounts whether Open,
Stated or Settled of the said estate and vessel as in conscience and equity they ought to have done
or be attached and compelled to answer and discontinue all piracy ofvessel(s). Your orator desires
an order taking his bill for confession, the failure of the Defendant(s)/Libelee(s) to make any
defense being deemed prima facie evidence that he has no defense to make, but, on the contrary,
admits the material allegations of the bill to be true. Qui tacet, cum loqui detet, consentire videtur
(He who is silent, though he had foreseen them, seems to agree).
                                "Equity does not aid the Volunteer"
 "When one of two innocent persons must suffer by the act ofa third person, he who put it in
              the power ofthe third person to inflict the injury shall bear the loss"

                                     Statement of Cause Bank


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Jurisdiction by Nature, Law ofNa.ions
        The primary subject matter issue of Your orator' s speciali causa (special cause), as an
"implied equitable maritime surety," he makes his original claim against Defendant(s)/Libelee(s)
seeking equitable relief from the burden caused by (i) trespass upon Your orator's inherent right
to equal Justice being rendered towards him concerning any dispute (ii) exoneration of all liability
and obligations imputed to Your orator either by way of operation oflaw, mistake, error or accident,
by presumption, under legal compulsion, threat and duress, or fraudulent concealment by
Defendant(s)/Libelee(s), (iii) subrogation of all rights, title and interests of the united states of
america, and the united states for the district of columbia (hereafter " creditors") against the
libellant with respect to any irrevocable obligation arising from a quasi-trust relationship
conducted by said the district of columbia colorable admiralty and maritime military legal letters
of marque reprisal proceedings.

        Your orator states that due to said exigent circumstances I am without adequate, complete,
and certain remedy at law, sufficient to meet all the demands of Justice owed and due to me by
virtue of his private status as a people called Moor, subject, consul and Noble of the Al Maroc
Shereefian Empire, and that as the sole exclusive heir to the Estate, and that without complete
justice being administered by this court, Your orator may be subject to unjust and irreparable harm
and destruction in libel of his maritime treaty protected rights and property.

        Your orator is in jeopardy of his special and private rights being destroyed in libel beyond
repair in the future because my rights have been destroyed in contravention in the past and present
by "a People who are bound by oath to be Persons Worthy of Trust," moynihan, brian thomas
d/b/a BRIAN THOMAS MOYNIBAM, chief executive officer, et al, HEIRS AND ASSIGNEES,
Bank of America, N.A. (" party"), concerning but not limited to Fulton County Magistrate Court
Case #20MS134644, et al. , where an Order of Garnishment was issued. Aforesaid party(ies) has
an unfair advantage at law, whereby has made colorable admiralty Court and enforcement of
colorable law an instrument of injustice. Aforesaid parties destroyed Your Orator's rights by quasi
in rem admiralty and maritime Legal mode of letters of Marque/Reprisal Proceedings "Acts of
War" which are contravention with Your orator's private maritime treaty protection of the 1786
(& 1836) Treaty of Marrakech, ARTICLE XX:l; 1795 Treaty of Algiers, ARTICLE XV; 1797
Treaty of Tunis, ARTICLE XVIII; 1824 Treaty of Tunis, ARTICLE XII; and the Treaty of Tripoli
1797 ARTICLE X, as well as the written 1789 constitution for the united states of america, under

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the rules of Chancery due and owing to the Clamant by way of his special and particular political
status, and equitable maritime rights to the same said Estate that were intended for Your orator as
the sole exclusive heir and beneficiary. All consideration was provided by Your orator by consent
of signature to access the monies of vessel: Kenneth Anderson Brown and Proof of Consideration
provided at the time aforesaid party was appointed Fiduciary(ies)/Trustee(s) for the benefit of Your
orator. The past and current exercise of garnishment concerning colorable at law Court judgment
of Your orator's vessel: Kenneth Anderson Brown labor derived income is a breach of faith and
repugnant to aforementioned treaty(ies) and equity rights and unbecoming of aforesaid party(ies)
who were appointed Fiduciary(ies)/Trustee(s) for the vessel: Kenneth Anderson Brown and
account(s) et al., where a Statement of Account was and is demanded including restoration of all
monies pirated and besieged to be restored to Your orator immediately as the destruction has
caused and continue to cause, in the present, irreparable destruction.
        Your orator demands that the Defendant(s), who are privately appointed Trustee(s) for the
benefit of brown, kenneth anderson, shall answer under oath, make the discovery called upon by
the bill, and render over to him a full accounting of all accounts whether Open, Stated or Settled
of the said estate and vessel as in conscience and equity they ought to have done or be attached
and compelled to answer and discontinue all piracy of vessel(s). Your orator desires an order taking
his bill for confession, the failure of the Defendant(s)/Libelee(s) to make any defense being
deemed prima facie evidence that he has no defense to make, but, on the contrary, admits the
material allegations of the bill to be true. Qui tacet, cum loqui detet, consentire videtur (He who
is silent, though he had foreseen them, seems to agree).
                                "Equity does not aid the Volunteer"
 "When one of two innocent persons must suffer by the act ofa third person, he who put it in
              the power ofthe third person to inflict the injury shall bear the loss"

                                      Statement of the Cause
        The primary subject matter issue of your orator's speciali causa (special cause), as an
"implied equitable maritime surety," he makes his original claim against Defendant(s)/Libelee(s)
seeking equitable maritime restoration of my vessels and ships from the burden caused by (i)
trespass upon your orators inherent right to equal Justice being rendered in admiralty and maritime
by nature jurisdiction towards him concerning any dispute, (ii) exoneration of all liability and


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obligations imputed to your orator either by way of operation of law, mistake, error or accident,
by presumption, under legal compulsion, threat and duress, or fraudulent concealment by
Defendant(s)/Libelee(s), and (iii) subrogation of all rights, title and interests of the united states
of america, and the united states for the district of columbia (hereafter "creditors") against the
claimant with respect to any irrevocable obligation arising from a quasi-trust relationship
conducted by said the district of columbia military legal colorable admiralty proceedings through
letters of marque/reprisal.
        Your orator states that due to said exigent circumstances I am without adequate, complete,
and certain remedy at law, sufficient to meet all the demands of Justice owed and due to me by
virtue of his private status as a people called Moor and subject, consul and Noble of the Al Maroc
Shereejian Empire, and that as the sole exclusive heir to the Estate, and that without complete
justice being administered in admiralty and maritime by nature by this High court, your orator may
be subject to unjust and irreparable harm and destruction in libel of his maritime/mercantile treaty
protected rights and property.
            Your orator is in jeopardy of his private rights being destroyed in the future in libel
because my rights have already been destroyed in libel in the past and present by the following
"People who are bound by oath to be Persons Worthy of Trust" including: miller, duane r. d/b/a
MAJOR GENERAL DUANE R. MILLER, et al., provost marshal general of the army of the united
states et al., HEIRS AND ASSIGNEES; blinken, antony john d/b/a ANTONY JOHN BLINKEN,
secretary of state of the united states et al., HEIRS AND ASSIGNEES; garland, merrick d/b/a
MERRICK GARLAND, et al., attorney general of the united states, HEIRS AND ASSIGNEES;
moyares, jason s. d/b/a JASON S. MOYARES, et al., attorney general of virginia, HEIRS AND
ASSIGNEES; stein, john d/b/a JOHN STEIN, et al., attorney general of North Carolina, HEIRS
AND ASSIGNEES; and carr, chris d/b/a CHRIS CARR, et at., attorney general of Georgia,
HEIRS AND ASSIGNEES. They are guilty of breaching faith by taking oaths contrary to Equity
admiralty and maritime by nature and a good conscience by continuing to use the colorable Courts
of law to obtain or enforce any judgements contrary to Equity admiralty and maritime by nature,
good conscience and good reason. Where, in any said plaintiff has an unfair advantage at law,
whereby he may make the colorable admiralty Court of law an instrument of injustice. If the
plaintiff obtains a judgment by suppressing or fabricating evidence, or by taking an
unconscientious advantage of the defendant, or by any other fraud, the Court on due application,

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will enjoin the plaintiff from enforcing a judgment so obtained, and thus taking advantage of his
own wrong, provided such defendant really had a meritorious defense, and was guilty of no
negligence or other fault in the case. Which is also ve,y unbecoming belligerent and hostile in
character act and deed.
                                 "Equity does not aid the Volunteer"
                I brown, kenneth anderson a private people called Moor/americas aboriginal
virginian national, an Emperor, an Admiral, a Master Merchant, a Shereef, a Seamen, a Piloter,
a Commander, a Captain Maritime lien holder of all vessels, ships, chattels, goods, cargo, crafts,
tenements, charters, estates, commodities Land, Air, Water, etc., an Captain Maritime lien holder
navigating the high seas onshore and offshore, and subject, consul and Noble of the Al Maroc
Shereefian Empire. My private rights as a people called Moor has been irreparably destroyed in
libel since the moment I was conceived by unbecoming hostile enemy belligerent citizens of the
united states for the district of columbia in character act and deed by the above named Libelee(s)
who are People bound by oath to be Persons worthy of trust by failing miserable to uphold and
protect an ipso jure Moor Subject who is a People. They neglected to restrain their co-Trustees and
belligerent citizens from appealing arms and confederating against a People called Moor while
passing and repass amongst christians and jews expressed with specific intent and purpose by my
ancestors in the 1492 Treaty ofGrenada and 1795 Treaty ofAlgiers Article III, V, XV and Treaty
of Tripoli 1796-ARTICLE XII and XI.
                         "Equity imputes an intent to fulfill an obligation"
                          "Equity sees as done as what ought to be done"
There has been a clear breach of fiduciary relations, Breach of fiduciary relations, and breach of
Trust in admiralty and maritime by nature as I clearly have a Special and Particular Political status
not cognizable in colorable admiralty courts at law or in rem because i'm a Moor subject, consul
and Noble of an Empire and grantee/heir/beneficiary protected by the 1778 Treaty of the
Delawares ARTICLE VI. which states:
             "Whereas the enemies of the United States have endeavored, by every
             artifice in their power, to possess the Jndians[Moors] in general with an
             opinion, that it is the design ofthe States aforesaid, to extirpate the Indians
             [Moors] and take possession of their country to obviate such false
             suggestion, the United States do engage to guarantee to the aforesaid

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             nation of Delawares, and their heirs, all their territorial rights in the
            fullest and most ample manner, as it bath been bounded byformer treaties,
             as long as they the said Delaware nation shall abide by, and holdfast the
             chain offriendship now entered into. And it is further agreed on between
             the contracting parties should it for the future be found conducive for the
             mutual interest of both parties to invite any other tribes who have been
            friends to the interest of the United States, to Join the present
             confederation, and to form a state whereof the Delaware nation shall be
             the head, and have a representation in Congress: Provided, nothing
             contained in this article to be considered as conclusive until it meets with
             the approbation of Congress. And it is also the intent and meaning of this
             article, that no protection or countenance shall be afforded to any who
             are at present our enemies, by which they might escape the punishment
             they deserve. "
A Trust Arise and I am the beneficiary. This right has been irreparably destroyed in the past,
present and future, and I demand promptly restoration of vessels.
                                      "Equity follows the law"
                     "He who comes into equity must come with clean hands"
                        "He who occasions the loss must bear the burden"

                                           Statement of Cause
        The primary subject matter issue of Your orator's speciali causa (special cause), as an
"implied maritime equitable surety," he makes his original claim against Defendant(s)/Libelee(s)
seeking equitable maritime restoration from the burden caused by (i) trespass upon Your orator's
inherent right to equal Justice being rendered towards him concerning any dispute, (ii) exoneration
of all liability and obligations imputed to Your orator either by way of operation of law, mistake,
error or accident, by presumption, under legal compulsion, threat and duress, or fraudulent
concealment by defendant(s), and (iii) subrogation of all rights, title and interests of the united
states of america, and the united states for the district of columbia (hereafter "creditors") against
the Claiamnt with respect to any irrevocable obligation arising from a quasi-trust relationship
conducted by said the district of columbia military colorable admiralty legal proceedings. "Once


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again this revenue is a united states for the district of columbia port of entry that breached its
charters by extending its waters outside the ten (10) miles square in contravention using its
fictitious colorable admiralty corporate entities (vessels) called the State of (x; in example State of
Georgia) and its agents crewmen on an Enemy ship known as citizens of the united states for the
district of columbia is guilty of Treason and felonies on the High Seas in contravention through
acts of war committing assaults and beatings on the High Seas by granting Letters of
Marque/Reprisal to capture/condemn/pirate the vessels, ships, good, merchandise, commodities,
convoys belonging to "Ipso Jure" Moor Subjects of the Al Maroc Shereefian Empire without the
consent of united states in congress assembled".

        Your orator states that due to said exigent circumstances I am without adequate, complete,
and certain remedy at law, sufficient to meet all the demands of Justice owed and due to me by
virtue of his private status as a people called Moor, an Emperor, an Admiral, a Master Merchant,
a Shereef, a Seamen, a Piloter, a Commander, a Captain Maritime lien holder of all vessels, ships,
chattels, goods, cargo, crafts, tenements, charters, estates, commodities Land, Air, Water, etc., an
Captain Maritime lien holder navigating the high seas onshore and offshore, and subject, consul
and Noble of the Al Maroc Shereefian Empire, and that as the sole exclusive heir to the aforesaid
Estates, and that without complete justice being administered by this Honorable court, Your orator
may be subject to unjust and irreparable harm and destruction of his maritime treaty protected
rights and property.

            Your orator is in jeopardy of his private unalienable rights being destroyed in
contravention in the future because my rights have already been destroyed in the past and present
in libel by "People who are bound by oath to be Persons Worthy of Trust" who are
Custodian(s)/Fiduciary(ies)/Liablee(s)/Defendant(s) to this suit as following: blinken, antony john
d/b/a ANTONY JOHN BLINKEN, secretary of state of the united states et al .; yell en, janet louise
d/b/a JANET LOUISE YELLEN, treasurer of the united states et al.; garland, merrick d/b/a
MERRICK GARLAND et al., attorney general of the united states et al.; barnhart, jo anne d/b/a
JO ANNE BARNHART et al. , commissioner of the social security administration et al.; rettig,
charles paul d/b/a CHARLES PAUL RETTIG, commissioner of internal revenue service et al.;
miller, duane r. d/b/a MAJOR GENERAL DUANE R. MILLER, et al., provost marshal general
of the united states army et al.; dejoy, louis d/b/a LOUIS DEJOY et al., postmaster general of the

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united states et al.; biden, joseph robinette jr. d/b/a JOSEPH ROBINETTE BIDEN Jr. et al .,
president of the united states et al.; labat, patrick d/b/a PATRICK LABAT et al. , sheriff offulton
county et al.; moyares, jason s. d/b/a JASON S. MOYARES et al ., attorney general of virginia at
al .; stein, john d/b/a JOHN STEIN et al., attorney general of north carolina et al. ; carr, chris d/b/a
CHRIS CARR, et at., attorney general of Georgia; youngk.in, glen d/b/a GLEN YOUNGKIN et
al., governor of Virginia; kemp, brian d/b/a BRIAN KEMP et al., governor of georgia; cooper, roy
d/ba/ ROY COOPER, governor of North Carolina; moynihan, brian thomas d/b/a                      BRIAN
THOMAS MOYNIHAM, chairman and chief executive officer of bank of america, n.a. et al. ;
dowdy, evelyn g. d/b/a EVELYN G. DOWDY et al., president and chief executive officer of
connects federal credit union et al. ; mcduffie, mary d/b/a MARY MCDUFFIE et al., chief
executive officer of Navy Federal Credit Union et al. ; whitlock, edward s. iii d/b/a EDWARD S.
WlllTLOCK III et al. , attorney and partner of lafayette, ayers & whitlock, plc et al .; fischer,
jennifer w . d/b/a JENNIFER W . FISCHER et al., attorney oflafayette, ayers & whitlock, pie et al.;
randazzo, mathew d/b/a MATHEW RANDAZZO et al ., principal of accuserve of va et al .; rogers,
william h. jr. d/b/a Wil.LIAM H. ROGERS Jr. et al ., chairman and chief executive officer oftruist
bank et al .; moore-wright, k:imberly d/b/a KIMBERLY MOORE-WRIGHT et al., chief teammate
officer and head of enterprise diversity of truist bank et al. ; defancis, steven d/b/a STEVEN
DEFRANCIS et al ., chief executive officer of Cortland Partners LLC et al.; lackey, joel bray d/b/a
JOEL BRAY LACKEY et al ., chief executive officer of national credit services, inc. et al. , and all
Heirs and Assignees to all aforesaid Custodian(s)/Fiduciary(ies)/ Liablee(s)/Defendant(s) are
guilty of breaching faith by taking oaths contrary to Equity in admiralty and maritime by nature
law of nations and a good conscience by continuing to use colorable law, codes and the Courts of
law to act or obtain or enforce any judgements contrary to Equity, good conscience and good
reason. Where mentioned party(ies) has an unfair advantage at law, whereby he may make the
colorable admiralty Court and enforcement of colorable law an instrument of injustice. If the
mentioned party(ies) obtains a judgment by suppressing or fabricating evidence, or by taking an
unconscientious advantage of the defendant, or by any other fraud, the Court on due application,
will enjoin the mentioned party(ies) from enforcing a judgment so obtained, and thus taking
advantage of his own wrong, provided Your orator in equity and within admiralty and maritime
jurisdiction by nature, law of nations had a meritorious defense, and was guilty of no negligence



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or other fault in the case. Which is also very unbecoming, belligerent and hostile in character act
and deed.
                                 "Equity does not aid the Volunteer"
        The Defendant(s)/Libelee(s) whether official(s)/Trustee(s) public or private have breached
their duties that I as a people called Moor entrusted these People who are bound by oath to be
Persons Worthy of Trust to discharge their duties faithfully while in their office of Trust and are
moving unbecoming in character act and deed. They have Confederated against me through assault
and beatings on the High Seas, breached maritime treaty relations, breached fiduciary relations
and breached trust relations thus my private rights have been irreparably destroyed beyond repair
in libel. Their actions are demonstrably erroneous and unbecoming in nature character act and
deed. There has been a clear breach of treaty relations, Breach of fiduciary relations, and breach
of Trust, Treason assaults and beatings on the High seas as I clearly have a Special and Particular
Political status not cognizable in the Colorable admiralty courts at law or in rem because I am a
Moor, subject, consul and Noble of an Empire and grantee/heir/beneficiary protected by and
pursuant to the 1778 Treaty of the Delawares Article VI which states:
             "Whereas the enemies of the United States have endeavored, by every
             artifice in their power, to possess the Indians (Moors) in general with an
             opinion, that it is the design ofthe States aforesaid, to extirpate the Indians
             (Moors) and take possession of their country to obviate such false
             suggestion, the United States do engage to guarantee to the aforesaid
             nation of Delawares, and their heirs, all their territorial rights in the
            fullest and most ample manner, as it bath been bounded byformer treaties,
             as long as they the said Delaware nation shall abide by, and holdfast the
             chain offriendship now entered into. And it is further agreed on between
             the contracting parties should it for the future be found conducive for the
             mutual interest of both parties to invite any other tribes who have been
            friends to the interest of the United States, to join the present
             confederation, and to form a state whereof the Delaware nation shall be
             the head, and have a representation in Congress: Provided, nothing
             contained in this article to be considered as conclusive until it meets with
             the approbation ofCongress. And it is also the intent and meaning of this

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            article, that no protection or countenance shall be afforded to any who
            are at present our enemies, by which they might escape the punishment
            they deserve. "
A Trust Arise and I am the beneficiary. This right has been irreparably destroyed in the past,
present andforeseeable future by contravention.
                                      "Equity follows the law"
                    "He who comes into equity must come with clean hands"
                        "He who occasions the loss must bear the burden"

                                           Statement of Cause
        I brown, kenneth anderson, a Private People called Moor grantee/grantor/beneficiary, an
Emperor, hereby require, demand, order and command the resurrection of the army of the united
states to rid the several states of its infestation of pirates onshore and offshore because the danger
is so imminent as not to admit of a delay. The united states in congress assembled who formed
The committee of states in recess of congress (united states for the district of columbia) as written
in the 1781 Articles of Confederation is already in breach of faith because its people who are bound
by oath to be persons worthy of trust allowed the committee of states to go to war with a private
People called Moors intentionally using Dixiecrats aka Democrats, etc. allowing them to adopt
corporate equity by characteristic admiralty maritime amendments to intentionally disenfranchise
the Moors one by one to citizens of the united states for the district of columbia using tools like
reconstruction of history to disenfranchise the Moors by stripping them of the customs and culture
of their ancestors. But I, as the Lord of the Land, Air and Water, the Moor subject, consul and
Noble of the Al Maroc Shereefian Empire, an Emperor, am offering grace and forgiveness to the
United States in congress assembled and its People who are bound by oath to be Persons Worthy
of Trust as long as you tum back from your wicked ways and move in a manner not contrary to
Equity, good conscience and good reason. Prince George in the 1763 proclamation never gave
consent by license for the united states for the district of columbia and its agents to step outside of
the ten miles square. So I command batten, roberts, john g. jr. d/b/a JOHN G. ROBERTS Jr. ET
AL., chief judge/acting as chancellor/master for the district court of the united states and his
associate judges including grimberg, steven d. d/b/a STEVEN D. GRIMBERG, jusdge for the
district court of the united states, to take action to restore the confederacy of the united states in


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congress assembled and its several states so that the Citizens of the several states may be in peace.
As for the subjects of the Al Maroc Shereefian Empire, the moment they claim to be Moors, I
demand they be immediately released and set at liberty for the Emperor never gave permission or
consent for any subjects/Beneficiaries to be naturalized or members of any one of the United States.
Subjects are under the Emperor and in my own right and past Emperor never entertained the idea
or Subject Matter known as Naturalization for Moors because there is no such thing as Citizenship
in the Dominions of the Al Maroc Shereefian Empire. Remember as the 1786 Treaty ofMarrakech
states: "the law of the country shall take place and Equal Justice shall be rendered".
        YOUR ORATOR ALSO DEMANDS the following named Moor subject(s) be
immediately restored and set at liberty. Immediately restore and set the following name,/ Moor
Beneficiary's vessels, goods and or chattels at liberty brown, bryan lamar dlbla BRYAN
LAMAR BROWN eta[., inmate trust # 75394083 eta/. and trust case # 4:14-CR-2 and # 4: 17-
cr-00045-RAJ-RJK, et al.; iamal darius ir dlbla JAMAL DARIUS PARKER Jr et al., trust
(Case)# 2200132301FH, et al. , currently in third circuit court of Michigan; brown, to"ey dlb/a
TORREY BROWN et al, inmate trust# 291581 et al. currently held at chippewa correctional
facility of michigan;; stepherson; mark anthonv dlbla MARK ANTHONY STEPHERSON et
!!!., trust (Case)# 1:21-00507-mhc-jkl currently held at federal detention center miami; and
duval, vincent anthonv ir dlb/a VINCENT ANTHONY DUVAL Jr et al, relating to trust
(Case)# 8:03-cr-00131-SCB-M Pin district court of the united states for florida middle district,
pursuant but not limited to:

                            SUBSTANTIVE DUE PROCESS OF WAR
                                           1795 Treaty ofAlgiers
                          1
            ARTICLE YE 15' ' . Any disputes or Suits at Law that may take Place
             between the subjects of the Regency and the Citizens of the United
             States of North America Shall be decided by the Dey in person and no
             other, any disputes that may arise between the Citizens of the United
             States, Shall be decided by the Consul as they are in Such Cases not
             Subject to the Laws of this Regency; (a Trust arises)
            ARTICLE YE J<j1h_ Should the Cruisers of Algiers capture any Vessel
             having Citizens of the United States of North America on board they


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             having papers to Prove they are Really so they and their property Shall
             be immediately discharged and Shou'd the Vessels of the United States
             capture any Vessels of Nations at War with them having Subjects of this
             Regency on board they shall be treated in like Manner; (a Trust arises)
              Treaty of Peace and Friendship, Signed at Tripoli November 4, 1796
            ARTICLE 3 . If any citizens, subjects or effects belonging to either party
             shall be found on board a prize vessel taken from an enemy by the other
             party, such citizens or subjects shall be set at liberty, and the effects
             restored to the owners; (a Trust arises)
            ARTICLE 12. In case of any dispute arising from a notation of any of the
             articles of this treaty no appeal shall be made to arms, nor shall war be
             declared on any pretext whatever. But if the (consul residing at the place
             where the dispute shall happen shall not be able to settle the same, an
             amicable referrence shall be made to the mutual friend of the parties, the
             Dey of Algiers, the parties hereby engaging to abide by his decision. And
             he by virtue of his signature to this treaty engages for himself and
             successors to declare the justice of the case according to the true
             interpretation of the treaty, and to use all the means in his power to enforce
             the observance of the same; (a Trust arises)
                                     1786 Treaty ofMarrakech
            ARTICLE 6. If any Moor shall bring Citizens of the United States or their
            Effects to His Majesty, the Citizens shall immediately be set at Liberty
             and the Effects restored, and in like Manner, if any Moor not a Subject of
            these Dominions shall make Prize of any of the Citizens of America or
            their Effects and bring them into any of the Ports of His Majesty, they shall
            be immediately released, as they will then be considered as under His
            Majesty's Protection; (a Trust arises)
            ARTICLE 7. If any Vessel of either Party shall put into a Port of the other
            and have occasion for Provisions or other Supplies, they shall be furnished
            without any interruption or molestation; (a Trust arises)


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            ARTICLE 8. If any Vessel of the United States shall meet with a Disaster
            at Sea and put into one of our Ports to repair, she shall be at Liberty to land
            and reload her cargo, without paying any Duty whatever; (a Trust arises)

             "Whenever a right grows out of or is protected by treaty, it is sanctioned
            against all the laws andjudicial decisions of the states; and whoever may
            have this right is protected But if the person 's title is not affected by the
            treaty, if he claims nothing under the treaty his title can not be protected
            by the treaty; " (a Trust arises)

             "The obligation ofa treaty, the supreme law ofthe land, must be admitted.
             The execution of the contract between the two nations is to be demanded
            from the executive ofeach nation; but where a treaty affects the rights of
            parties litigating in court, the treaty as much binds those rights, and is as
            much regarded by the Supreme Court as an act of congress. Nor do
            treaties, in general, become extinguished, ipso facto, by war between two
            governments.     Those stipulating for a permanent arrangement of
            territorial and other national rights, are, at most, suspended during the
            war, and revive at the peace, unless they are waived by the parties, or new
            and repugnant stipulations are made. This being a fact and question in
            law which was evidently overlooked, and which manifestly makes the
            denial order erroneous;" (a Trust arises)
             "Where a treaty is the law of the land, and as such affects the rights of
            parties litigating in court, that treaty as much binds those rights, and is as
            much to be regarded by the court, as an act of Congress. To Condemn a
            vessel, therefore, the restoration be an executive act, would be a direct
            infraction of that law, consequence, improper;" (a Trust arises)

             "The stipulations in a treaty between the United States and a foreign
            power, are paramount to the provisions of the constitution ofa particular
            state, or the Confederacy;" (a Trust arises) and




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             "The acquisition ofthe property or taking other advantage ofa person by
             the betrayal of his confidence. Such an act is a sort of treason against
             goodfaith and shocks the conscience ofall mankind. " (Henry R. Gibson)

        In Conclusion for the breach of faith, breach of treaty relations and fiduciary duties in
 contravention is libel and slander and Treason against Ipso Moor subjects, consuls and Nobles of
 the Al Maroc Shereefian Empire. I hereby Order and Demand A Maritime lien on all Constitutions
 including the 1789 constitution of the united states the, 1871 organic act, and the Code of District
 of Columbia, etc. As Emperor, Nowhere in the constitution does it state that the Constitution
 Trust Manifesto was perpetual, and it is very clear that there was a scandalous intent and purpose
 to extirpate the Moors and breach the Supreme laws of Nations that came before the adoption of
 the constitution and laws of the united states by waging or declaring war against the Moor subjects
 of an Empire "He who occasions the loss must bear the burden. "I declare all the People bound
 by oath to be Persons Worthy of Trust in Offices of the united states for the di strict of columbia,
 the united states of america in congress assembled and its 1789 constitution of united states is
 Void Ab lnitio and I Command Trustees not in breach to return back to the original united
 states of america style of confederacy anti several states under 1774 articles of association,
 1776 Declaration ofIndependence, and 1781 articles of confederation.

                         "Equity imputes an intent to fulfill an obligation"

                          "Equity see what is done as ought to be done. "

             "Every State shall abide by the determination of the United States in
             Congress assembled, on all questions which by this confederation are
             submitted to them. And the Articles of this Confederation shall be
             inviolably observed by every State, and the Union shall be pe,petual; nor
            shall any alteration at any time hereafter be made in any of them; unless
            such alteration be agreed to in a Congress of the United States, and be
            afterwards confirmed by the legislatures ofevery State. "

                                           Statement of the Cause




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     The primary subject matter issue of the libellant ' s speciali causa (special cause) is for full
restoration against the destruction of rights in contravention born of from trespasses upon the
stipulations of maritime treaties including, but not limited to:
         1. Detaining, molesting, interrupting his ability to pass and repass or otherwise
             impeding Libel/ant's free ingress and regress to and from .
         2. Blocking, clogging, or prohibiting his private enjoyment, use, possession,
             and benefit of his lands, tenements, goods and chattels, reputation, labor and
             senses.
         3. Collecting any kind of rent tribute or tax from them and otherwise exercise
             his functions of rule over them.
         4. Libel and Slander in attempts to destroy Libellant 's reputation, right to goods
             and chattels, credits, liberties, and his labor, or call upon Libellant 's for
             indemnity or satisfaction, on behalf of another, "under legal compulsion."
         5. Subject Libellant 's "under legal compulsion " to any statutes, codes,
             ordinances, provisions, prohibitions, and penalties, have been heavily
             prejudiced by the presumption that the Libellant was a citizen of the united
             states for the district of columbia, or Citizen of the united states of america
             in congress assembled," and subject to their laws.
         6. Treating Libellant as a belligerent and national of a designated enemy
             country.
         7. Subjecting Libel/ant to any future inconvenience, probable or even possible
             to happen by the neglect, inadvertence or culpability of another, by guarding
             Libe/lant against possible or prospective injuries/destruction, and to preserve
             the means by which Libellant's existing maritime rights may be protected
             from future or contingent violations and breach.
         8. Endangering Libellant implied equitable maritime surety from being injured
             by the creditor's delay in bringing suit, against the principal debtor.
         9. The Libellant certificate ohitle of "Special Deposit' has been issued to the
             trustees and been delivered.




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         10. I have been besieged. There is a breach of reliance as my special deposit has
             been taken and never has it been applied to the accounting. I have been
             wronged.

                                    "Equity delights in Equality "

        Your orator requires this court to issue a Writ of QUIA TIMET (injunction) in the
foregoing bill to inhibit and restrain the said defendant(s)llibelee(s) their heirs, assigns, and agents
from continuing said act or acts complained of which are contrary to treaties, the Constitution, the
laws of the State, or in violation of their charters. This Writ ofQuia Timet is required for with good
conscience and good reason; it is required that said injunction be made perpetual on the grounds
that said acts are contrary to Equity, good conscience, good reason, and are repugnant to the treaties,
constitution, laws of the united states of america in congress assembled or in violation of their
charters. Your orator requires that said Defendant(s)/Libe/ee(s), their heirs, assigns, and agents are
so ordered to absolutely desist and refrain from the commission of said trespasses therefrom.
Your orator requires that if it be necessary to attach an equitable maritime lien to the company
charters, bonds, sureties, and collaterals, of any oftheDefendant(s), their heirs, assigns, and agents,
to secure the payment of the money due Claimant, for fraudulent concealment, any attempt to
convert or appropriate said property to Defendant(s) own use, dispose of, destroy, or clog the
ability to return the collateral to the brown, kenneth anderson for any breach of faith in
contravention, be levied.
        Your orator requires the court to issue a Writ of QUIA TIMET (injunction) as aforesaid to
include Your orator and Your orator's ipso jure Moor beneficiaries as following: brown, wanda
michele d/b/a WANDA MICHELE BROWN; brown, debra charlene d/b/a DEBRA CHARLENE
BROWN WOODARD, et al.; brown, raymond dayrell d/b/a RAYMOND DAYRELL BROWN;
brown, xyaire lamar d/b/a XYAIRE LAMAR BROWN; percell, tiarra d/b/a TIARRA PERCELL,
et al.; brown, enarie d/b/a ENARIE BROWN, et al.; davis, elijah d/b/a ELIJAH DAVIS, et al.;
ballard, jacob d/b/a JACOB BALLARD, et al.; brown, bryan lamar d/b/a BRYAN LAMAR
BROWN; brown, shymel bryan d/b/a SHYMEL BRYAN BROWN; brown, dijazian dayrell d/b/a
DIJAZIAN DA YRELL BROWN; brown, yirianis yaleyni d/b/a YIRIANIS YALEYNI BROWN,
et al.; brown, ashley michele d/b/a ASHLEY MICHELE BROWN; custis, shamar nyrell d/b/a
SHAMAR NYRELL CUSTIS; duck, damari akill d/b/a DAMARI AKILL DUCK; duck, amara

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michele d/b/a AMARA :MICHELE DUCK; brown, adrien lutrell d/b/a ADRIEN LUTRELL
BROWN; brown, robert jerome d/b/a ROBERT JEROME BROWN; solomon, tamiko jones d/b/a
TAMIKO SOLOMON JONES, et al.; jones, t' nai airin rose' d/b/a T'NAI AIRIN ROSE' JONES;
solomon, t'mia alexus d/b/A T':MIA ALEXUS SOLOMON; solomon, tiana kaireen d/b/a TIANA
KAIREEN SOLOMON; brown, debra charlene d/b/a DEBRA CHARLENE BROWN
WOODARD, et al.; woodard, tia Juve d/b/a TIA LUVE YOUNGER, et al.; younger, james melvin
i d/b/a JAMES MELVIN YOUNGER I, et al .; younger, james melvin ii d/b/a JAMES MELVIN
YOUNGER II, et al.; younger, solomon lambeth d/b/a SOLOMON LAMBETH YOUNGER;
younger, kira noelani charlene d/b/a KIRA NOELANI CHARLEBE YOUNGER; horsley,
rochanne samantha d/b/a ROCHANNE SAMANTHA DOUGLAS, et al.; woodland, kashae
armani d/b/a KASHAE ARMAN! WOODLAND; woodland, kali alyssa d/b/a KALI ALYSSA
WOODLAND; woodland, kevell antonio d/b/a KEVELL ANTONIO WOODLAND; scott, shohn
d/b/a SHOHN SCOTT et al .; harrison, mildred d/b/a MILDRED HARRISON, et al. ; wilson,
claritha   d/b/a CLARITHA GRAHAM, et al .; graham, robert earl d/b/a ROBERT EARL
GRAHAM; graham, todd elroy d/b/a TODD ELROY GRAHAM; graham, jamal dekel d/b/a
JAMAL DEKEL GRAHAM; graham, latoya d/b/a LATOYA GRAHAM, et al .; graham, michael
timothy d/b/a MICHAEL TIMOTHY GRAHAM; graham, michael timothy jr. d/b/a MICHAEL
TIMOTHY GRAHAM Jr.; clanton, stanford eugene d/b/a STANFORD EUGENE CLANTON;
thomas, estella d/b/a ESTELLA THOMAS CLANTON, et al.; clanton, stanford charles d/b/a
STANFORD CHARLES CLANTON; clanton, k'den stanford d/b/a K ' DEN STANFORD
CLANTON; clanton, benjamin lamont d/b/a BENJAMIN LAMONT CLANTON; clanton, Jason
randall d/b/a JASON RANDALL CLANTON; berry, regina marchelle d/b/a REGINA
MARCHELLE LEE, et al.; lee, chistoper al Ion d/b/a CHRISTOPHER ALLON LEE; horton, aisha
marie d/b/a AISHA MARIE LEE, et al .; baron, james d/b/a JAMES BARON; geiger, kenneth
michael d/b/a KENNETH MICHAEL GEIGER

      "Every homestead is sacred, especially when it belonged to our ancestors, and has
      been long in our possession. We were made 'of its dust; our fathers and mothers sleep
      in its bosom; and we expect to repose by their side. Our dearest memories cluster
      about it; it was ourfather's kingdom, and the home ofour youth where we were princes.
      To sell it away from us is like a sacrilege, and to turn us out of possession is like


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       driving us out of our .Eden and forcing us forever from our holy land And all this is
       true, whether the home be a cabin on a mountain side, a cottage in a valley, or a
      palatial mansion in the midst of a princely estate; for home is home, and there is no
      place on earth so dear to the human heart, be that home humble, or be it grand; for,
       after all, it is our home. Fortunately for the unfortunate, the homestead laws, like the
       Cherubim of.Eden, protect the home in very many cases; " and "The acquisition ofthe
      property or taking other advantage ofa person by the betrayal ofhis confidence. Such
       an act is a sort oftreason against goodfaith and shocks the conscience ofall mankind. "
       (Henry R. Gibson, Chancellor) Maxim: "A Judge ought always to have Equity before
       his eyes"

                              Notice of the Conflict and Variance of law
     The remedies sought are of a purely equitable maritime by nature, and the libellant elects to
apply for equitable maritime remedy and full restoration and notices that it is an established
principle that when there is a conflict between the rules of admiralty/maritime and the rules of
equity, over the same subject matter, the rules of equity shall prevail. Further, the claimant states
that no adequate, sufficient, or speedy remedy colorable admiralty at law can provide complete
justice. Your orator therefore attaches a "Table of Authorities" that are based upon well-
established inherent principles and equity in the admiralty and maritime jurisprudence by nature.
The maxims in support of Your orator' s special causes attached herewith by reference and attached
hereto in Annex. Further the libellant does notice that this cause is in accordance with the soul,
intent and purpose of the rules of the supreme court of the united states "former rules" number 48,
and that Respondents are believed to be governed exclusively in accordance with the intent of Rule
4 7 of same. "Stand by what has been decided, and tlo not disturb what is settled "

                                   Demand for Special Restoration
     Wherefore the foregoing, Your orator therefore requires that this court issue a decree for
Libellant's special request for Declaratory Relief of the rights, duties, powers, privileges and
immunities between the parties which is operative and binding upon all the parties to the suit,
whether they be natural or artificial persons, and whether under disability or not and pursuant to:

          1. Decree brown, kenneth anderson, Moor beneficiary, as sole exclusive heir
              to the same subject matter the Name and Estate of "KENNETH

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             ANDERSON BROWN," "KB RA-EL" establishing my equitable maritime
             rights, powers and relation to said estate; to the private enjoyment, use,
             possession, and benefit of all property attachments including, but not limited
             to, all rents, credits emitted, monies borrowed, assets, lands, acquisitions,
             proceeds, profits, houses, goods and chattels, rights and credits, his person,
             his wife (to be) and offspring(s) (to be), his right to work and trade, to sell
             and acquire property, to engage in lawful business without restriction, to pass
             and repass among the Christians and Jews, being perfectly secure in his
             person and property, and his and their reputation, health and capacity to labor;
         2. Decree the libellant be restored all assets including, but not limited to, credits
             emitted, monies borrowed, rents, assets, lands, proceeds, titles, interests,
             issues, derivatives, derivations, equitable lien attachments and collaterals, be
             accounted for, and other rights he sues for, or right, title or interest that he is
             entitled to claim.
         3. Decree acknowledgement of brown, kenneth anderson, is "in fact" a private
             people called Moor, americas aboriginal virginian national, and subject,
             consul and Noble of the Al Maroc Shereefian Empire, "but not a citizen of
             the united states for the district of col um bi a, nor a Citizen of the united states
             of america in congress assembled;" and that he shall be treated as friendly,
             amicus curiae, respected, esteemed and as that of the most favored Nation;
             and that due process and equal Justice shall be rendered in the exclusive
             admiralty and maritime jurisdiction by nature towards him in all disputes;
         4. Decree protection of all rights to subrogation of the equitable surety
             involving the subject matter obligation/debts;
         5. Decree exoneration from all liability as secondarily liable to the Estate; and
             shall "not" be called upon for indemnity or satisfaction on behalf of another;
         6. Decree a special evidentiary hearing with the special clerk and master to
             present private proprietary confidential evidence in support;
         7. Decree to seal said Suit to exclude the public and press to protect the nature
             of the rights and protections between the Parties during the proceedings;


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         8. Decree any other Special Relief, with particularity, and that "Your orator
              may have such further and other relief in the premises as the nature of
              his case shall require and as to your judgeship shall deem just." Your
              orator requires you to issue a decree declaring Libellant: brown, kenneth
              anderson, a special and private people called Moor to be the Heir and Sole
              Beneficiary of Further, if said estate(s) is insolvent, then I shall endeavor to
              make it solvent as a contributing heir subrogee; if there are any
              encumbrances or collateral relations impeding the administration or
              execution of said estate I shall also consider to exercise the right to redeem
              said collateral in declaring a deed absolute to be an equitable maritime
              mortgage in my favor, in order to extinguish all encumbrances and merge
              and extinguish any of the corresponding debts or mortgages, as the situation
              may requue.
         9. Your orator requires Your Honor issue a decree pro confesso for all
             Li bell ee(s), and that the matters of account in controversy be and are referred
              to the Clerk and Master to take and state an account between the libellant
              and libellee(s) concerning all transactions relating to or growing out of the
              same. The Master shall compel the production of all such books, papers,
              documents and other writings as may be in the possession or power of the
              parties, or either of them, he shall think proper to be produced before him in
              taking such account. The Master shall require each party to produce and file
              with the Master said account as to show the balance which either party may
              owe the libellant, and he will report hereon to the next term of the Court,
              until which time all other matters are reserved. The Master shall have liberty
              to state any special circumstances.
          10. Decree Injunctive relief to prevent a party, plaintiff(s) from usmg the
              colorable admiralty Courts of law to obtain or enforce judgements contrary
              to Equity admiralty and maritime by nature, good conscience and good
              reason. Where, in any said plaintiff has an unfair advantage at law, whereby
              he may make the Court of law an instrument of injustice.


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         11 . Decree Injunctive relief be granted to perpetually inhibit Defendant(s) from
             the assertion of any assumed right, and perpetually restrain Defendant(s)
             from the commission of an act which would be contrary to Equity, good
             conscience, and good reason, the treaties, constitution, laws of the united
             states of america in congress assembled or in violation of their charters.
         12. Decree     that   Your    orator   be   a    private   people    called    Moor
             grantee/grantor/beneficiary for and on behalf of brown, kenneth anderson,
             Moor beneficiary of the registered organization trust vessel name
             KENNETH ANDERSON BROWN estate et al., and that the body, the name,
             the sum of all their attachments, all rents, credits emitted, monies borrowed,
             lands, assets, acquisitions, proceeds, and profits of the estate during such
             time as Your orator was deprived thereof, with lawful interest, due to to
             brown, kenneth anderson, beneficiary, be restored to Your orator.
         13. Decree     that   Your    orator   be   a    private   people    called    Moor
             grantee/grantor/beneficiary and heir for and on behalf of deceased mother
             and Mooress: harrison, joyce yvonne beneficiary of the registered
             organization trust vessel name JOYCE YVONNE HARRISON estate, et al.;
             deceased father and Moor: brown, joseph anderson beneficiary of the
             registered organization trust vessel name JOSEPH ANDERSON BROWN
             estate, et al.; deceased brother and Moor: brown, kevin lamar beneficiary of
             the registered organization trust vessel name KEVIN LAMAR BROWN
             estate, et al., and that the bodies, the names, the sum of all their attachments,
             all rents, credits emitted, monies borrowed, lands, assets, acquisitions,
             proceeds, and profits of the estate during such time as Your orator was
             deprived thereof, with lawful interest, due to harrison, joyce yvonne, brown,
             joseph anderson and brown, kevin lamar who are all beneficiaries, be
             restored to Your orator as sole heir;
         14. Decree anyone acting as a People who is bound by oath to be Persons worthy
             of Trust and or Persons worthy of Trust shall render upon request by the
             Libellant, the specific performance, to produce an annual a full accounting
             and non-commingled, of all real, personal, and equitable maritime assets and

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             debts due to Libellant' s estate(s) and Libellant' s inherited estate(s) as heir
             during such time as he was deprived; and that a fiduciary be appointed for
             each life estate in those assets; the Trustee(s) of the private trust established
             settle and close this matter; and release any and all collateral, and return all
             remaining trust res, by reconversion of said "Trust Account(s)" interest, in
             USD species, to Libellant brown, kenneth anderson Moor heir/beneficiary;
             extinguish all     state, local, tax, obligation, reprisal, remuneration,
             indemnification, or debts, if any; exhibit and account for the funds or other
             property in which the Libellant has an interest, and to pay over whatever
             may be due or belong to him, or the balance due Libellant on a fair
             accounting to be held by you on Special Deposit;
         15. Decree the Libellant brown, kenneth anderson, a private people called Moor
             heir/beneficiary and shall have the right to claim, as grantee absolute,
             999,999 acres ofland, of his own choosing, including but not limited to water
             rights, surface and subsurface rights and air rights to lands, held in trust by
             the Department of the Interior for Moor aborigine beneficiary(ies) and
             descendant(s), shall be set aside and recorded in the name of the KB RA-EL
             EXPRESS TRUST for the private enjoyment, use, possession, and benefit,
             at that time and forever for the named brown, kenneth anderson, his heirs
             and beneficiaries. Said claim oflands, any interest in lands, water rights, or
             surface and subsurface rights and air rights to lands, including this trust or
             otherwise restricted allotments and rights, SHALL NOT BETAXED and is
             subject to NO other trust, existing building and use restrictions, easements
             and zoning ordinances of record, governing body or political subdivision,
             whether federal , State or local, if any, outside the exclusive equitable
             admiralty    and   maritime jurisdiction by        nature laws of nations,
             WHATSOEVER;
         16. Decree any cloud be removed from any real, personal, equitable maritime
             assets, or named estate(s) or the title be divested and vested concerning
             equitable maritime claim made by Libellant; and a permanent equitable
             maritime estoppel be granted against any and all non-bona fide parties.

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         17. Decree perpetual Injunctive relief shall issue against all classes of
             defendant(s), including but not limited, all executive, legislative, or judicial
             officers, and fiduciaries, whether implied or expressed, both of the united
             states of america and of the several states;
         18. Decree perpetual Injunctive relief shall issue against all classes ofLibelee(s),
             including but not limited, all executive, legislative, or judicial officers, and
             fiduciaries, whether implied or expressed, both of the united states of
             america and of the several states who are subject to their treaties and
             constitutions, shall acknowledge the Libellant special and particular political
             status"; and the Libellant shall " not'' be treated as a national/ally/neutral of
             a designated enemy country, or made subject to the Trading with the Enemy
             Act of 1933, nor the Emergency War Power Act or any other act that is
             repugnant to the maritime treaties; and that Libellant shall be excepted from
             any act, law, statute, ordinance, regulation, or prohibition that is in any way
             repugnant to the maritime/mercantile treaties between the Citizens of the
             United States ofNorth America and the subjects of the Al Maroc Shereefian
             Empire;
         19. Decree Injunctive relief to prevent a party(ies)/plaintiff(s) from using the
             Courts of law to obtain or enforce any judgements contrary to Equity
             admiralty and maritime by nature, good conscience and good reason. Where,
             in any said plaintiff has an unfair advantage at law, whereby he may make
             the Court of law an instrument of injustice;
         20. Decree Injunctive relief be granted to perpetually inhibiting Libelee(s) from
             the assertion of any presumed right, and perpetually restrain Libelee(s) from
             the commission of an act which would be contrary to Equity admiralty and
             maritime by nature good conscience, and good reason, the maritime treaties,
             constitution, laws of the united states of america in congress assembled or in
             violation of their charters;
         21. Decree Injunctive relief to be granted on behalf of an "implied equitable
             maritime surety," to enjoin any suit at law by creditor(s) whenever the
             creditor delays to sue after notice or demand;

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         22. Decree      Injunctive    relief   be   granted     to    perpetually    inhibit
             Defendant(s)/Libellant(s) or anyone acting as a People who is bound by oath
             to be Persons worthy of Trust and or Person worthy of Trust, from the
             asserting of any form of unlawful detainment, molestation, forced medical
             treatment, vaccinations, or forced use of protective apparel or any
             differentiating mark or sign to be placed upon Your orator or anyone of his
             heirs/beneficiaries, without their expressed written consent, they all shall be
             exempt from being visited or quarantined, under any pretense whatever, by
             anyone acting as a Person worthy of Trust. Any Defendant(s), their heirs and
             assigns, in violation of said injunction shall have an equitable maritime lien
             attached to their bonds, sureties, and collaterals, for their breach of faith, if
             any equitable admiralty grounds for attachment exist, state it;
         23. Decree the following named Moor subjects be immediately restored and set
             at liberty. Immediately restore, release and set at liberty the following named
             Moor beneficiary vessels goods and chattels at liberty brown, bryan lamar
             d/b/a BRYAN LAMAR BROWN et al., inmate trust # 75394083 et al. and
             trust case # 4:14-CR-2, et al. and 4: 17-cr-00045-RAJ-RJK, et al.; brown,
             torrey d/b/a TORREY BROWN inmate trust# 291581 et al. currently held
             at chippewa correctional facility of michigan; jamal darius jr d/b/a JAMAL
             DARIUS PARKER Jr. trust (Case) # 2200132301FH, et al., currently in
             third circuit court of Michigan, stepherson; mark anthony d/b/a MARK
             ANTHONY STEPHERSON trust (Case) # 1:21-00507-mhc-jkl currently
             held at federal detention center miami; and duval, vincent anthony jr d/b/a
             VINCENT ANTHONY DUVAL JR relating to trust (Case) # 8:03-cr-
             00131-SCB-M P in district court of the united states for florida middle
             district.
         24. Decree all other matters are reserved, and either party is to be at liberty to
             apply to the Court as occasion may requi re; and that the Libellant have such
             other relief as he demand, and may be entitled to, and that the proper final
             process shall issue; that this relief has been granted on proper grounds and
             in keeping with good reason and good conscience.

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        All People who are bound by oath to be Persons worthy of Trust, including but not limited
to all legislative, executive and judicial officers both of the United States and of the several states
bound by oath or affirmation to support all treaties made, the constitutions and the laws of the
United States, shall be indemnified by fulfilling their fiduciary duties.

                                            I Love You All

            "Ifany Moor shall bring Citizens oftl,e United States or their Effects
            to His Majesty, the Citizens shall immediately be set at Liberty and
            the Effects restored, and in like Manner ... " p ursuant to 1786 (&
             I 836), Treaty ofMarrakech ARTICLE VI.

                         "Equity regards the beneficiary as the true owner "
            "Equity will not allow a trust to fail for want of a Trustee,,


Performed by my hand and seal with manife st special intent and purpose, freewill act and Deed:

I DECLARE, under penalty of perjury under the land, air and waters of the AJ Maroc Shereefian
Empire that the foregoing is true and correct. Executed:   4-t} "Jf / Y ,              2022.




                                By:   /a> ke L" ~t.,/-(
                                            w n'il-.
                                      tirown,
                                                                    o. J< •,r, V\
                                                   nethanerson granleelgrantor beneficiary/heir
                                      a special and private Moor americas aboriginal virginian
                                      national, "but not citizen ofthe united states for the district
                                      ofcolumbia, nor citizen of the united slates ofamerica in
                                      congress assembled " and subject, consul and Noble of the
                                      Al Maroc Shereefian Empire
                                      SPECIAL DEPOSIT, PRIVA TE, PRIORITY




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                                             WITNESSES




Print/WitnesJ




                                           PROOF OF SERVICE

  I Declare dtat dte forgoing ins<rument was served herein on    'dv) f nU,{       , 2022.

                                       The parties were served via:

            U S.Mail                         Facsimile     /     Hand Delivery         UPS
       _    Federal Express                  Other              E-File                Email


  By: ~ , ~                   lfuk.t-         Moor beneficiary




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